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                                          UNITED STATES BANKRUPTCY COURT
                                                DISTRICT OF DELAWARE


       In re: NEWSTARCOM HOLDINGS, INC.                       §     Case No. 08-10108- CSS
                                                              §
                                                              §
                                                              §
                    Debtor(s)


                                CHAPTER 7 TRUSTEE’S FINAL ACCOUNT AND DISTRIBUTION
                                REPORT CERTIFICATION THAT THE ESTATE HAS BEEN FULLY
                                ADMINISTERED AND APPLICATION TO BE DISCHARGED (TDR)




              George L. Miller, chapter 7 trustee, submits this Final Account, Certification that the Estate has been
      Fully Administered and Application to be Discharged.

               1) All funds on hand have been distributed in accordance with the Trustee’s Final Report and, if
      applicable, any order of the Court modifying the Final Report. The case is fully administered and all assets and
      funds which have come under the trustee’s control in this case have been properly accounted for as provided
      by law. The trustee hereby requests to be discharged from further duties as a trustee.

               2) A summary of assets abandoned, assets exempt, total distributions to claimants, claims discharged
      without payment, and expenses of administration is provided below:



      Assets Abandoned:    $1,111.00                               Assets Exempt: N/A
      (without deducting any secured claims)

      Total Distributions to Claimants:   $440,227.49              Claims Discharged
                                                                   Without Payment: N/A


      Total Expenses of Administration:    $2,565,380.49




                3) Total gross receipts of $3,005,607.98 (see Exhibit 1), minus funds paid to the debtor and third
      parties of $0.00 (see Exhibit 2), yielded net receipts of $3,005,607.98 from the liquidation of the property of the
      estate, which was distributed as follows:




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                                               CLAIMS               CLAIMS                CLAIMS               CLAIMS
                                             SCHEDULED             ASSERTED              ALLOWED                PAID


   SECURED CLAIMS (from
   Exhibit 3)                                  $4,084,431.08        $4,671,052.86          $266,470.65           $266,470.65
   PRIORITY CLAIMS:
   CHAPTER 7 ADMIN. FEES AND
   CHARGES (from Exhibit 4)
                                                       $0.00        $2,565,380.49        $2,565,380.49         $2,565,380.49


   PRIOR CHAPTER ADMIN.
   FEES AND CHARGES (from
   Exhibit 5)                                          $0.00                $0.00                $0.00                 $0.00

   PRIORITY UNSECURED CLAIMS
   (from Exhibit 6)                               $57,341.25        $3,990,596.03        $3,285,958.68           $173,756.84

   GENERAL UNSECURED CLAIMS
   (from Exhibit 7)                           $35,791,353.98        $1,903,676.86        $4,014,657.46                 $0.00


   TOTAL DISBURSEMENTS                        $39,933,126.31       $13,130,706.24       $10,132,467.28         $3,005,607.98




                 4) This case was originally filed under chapter 7 on 01/14/2008. The case was pending for 164
      months.

                 5) All estate bank statements, deposit slips, and canceled checks have been submitted to the United States
      Trustee.

               6) An individual estate property record and report showing the final accounting of the assets of the estate is
      attached as Exhibit 8. The cash receipts and disbursements records for each estate bank account, showing the final
      accounting of the receipts and disbursements of estate funds is attached as Exhibit 9.

               Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the foregoing report is true
      and correct.




      Dated:        09/07/2021                        By: /s/ George L. Miller
                                                                           Trustee




      STATEMENT This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork
      Reduction Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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                                                                    EXHIBITS TO
                                                                  FINAL ACCOUNT

EXHIBIT 1 – GROSS RECEIPTS

                                                                                              UNIFORM                        $ AMOUNT
     DESCRIPTION
                                                                                             TRAN. CODE1                     RECEIVED

 BANK ACCOUNT-Citizens Bank account                                                             1129-000                         $9,980.00

 FEDERAL TAX REFUNDS                                                                            1129-000                              $13.12

 CITIBANK DELAWARE, ACCT #30618872                                                              1229-000                       $436,435.36

 Preferences                                                                                    1241-000                               $0.00

 D&O Litigation                                                                                 1249-000                      $2,184,088.44

 Letter of Credit Settlement                                                                    1249-000                       $375,000.00

 Incorrectly deposited into this account                                                        1270-000                             -$14.34

 INTEREST (u)                                                                                   1270-000                             $105.40

 DEPOSITS TO THIS DEBTOR IN ERROR                                                               1280-000                               $0.00

                             TOTAL GROSS RECEIPTS                                                                             $3,005,607.98

 1
  The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.




EXHIBIT 2 – FUNDS PAID TO DEBTOR & THIRD PARTIES

                                                                                                    UNIFORM               $ AMOUNT
                 PAYEE                                      DESCRIPTION
                                                                                                   TRAN. CODE                PAID

                                                                          None




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EXHIBIT 3 - SECURED CLAIMS



                                    UNIFORM        CLAIMS
   Claim                                                              CLAIMS               CLAIMS          CLAIMS
             CLAIMANT                TRAN.       SCHEDULED
    NO.                                                              ASSERTED             ALLOWED           PAID
                                     CODE      (from Form 6D)


     8A     RBS Citizens National   4210-000             $0.00       $4,671,052.86        $266,470.65    $266,470.65
            Association
     20     Graybar Electric        4220-000             $0.00              $0.00               $0.00          $0.00
            Company, Inc.
    N/F     Citizens Bank           4210-000      $4,084,431.08                NA                   NA           NA

              TOTAL SECURED                       $4,084,431.08      $4,671,052.86        $266,470.65    $266,470.65




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EXHIBIT 4 – CHAPTER 7 ADMINISTRATIVE FEES and CHARGES


                                       UNIFORM      CLAIMS          CLAIMS                CLAIMS         CLAIMS
   PAYEE                                TRAN.     SCHEDULED        ASSERTED              ALLOWED          PAID
                                        CODE

 Trustee, Fees - George L. Miller      2100-000              NA       $85,373.90          $85,373.90    $85,373.90

 Trustee, Expenses - George L.         2200-000              NA        $1,585.48           $1,585.48     $1,585.48
 Miller
 Accountant for Trustee, Fees -        3310-000              NA      $166,064.66         $166,064.66   $166,064.66
 Miller Coffey Tate LLP
 Accountant for Trustee, Expenses -    3320-000              NA         $623.49             $623.49       $623.49
 Miller Coffey Tate LLP
 Charges, U.S. Bankruptcy Court        2700-000              NA        $1,100.00           $1,100.00     $1,100.00

 Bond Payments - International         2300-000              NA        $1,979.38           $1,979.38     $1,979.38
 Sureties LTD
 Banking and Technology Service        2600-000              NA         $330.00             $330.00       $330.00
 Fee - Eagle Bank
 Banking and Technology Service        2600-000              NA        $3,077.91           $3,077.91     $3,077.91
 Fee - Mechanics Bank
 Banking and Technology Service        2600-000              NA       $30,321.01          $30,321.01    $30,321.01
 Fee - Rabobank, N.A.
 Banking and Technology Service        2600-000              NA       $24,573.20          $24,573.20    $24,573.20
 Fee - Union Bank
 Banking and Technology Service        2600-000              NA         $360.19             $360.19       $360.19
 Fee - Union Bank of California
 Other Chapter 7 Administrative        2990-000              NA       $22,196.27          $22,196.27    $22,196.27
 Expenses - EMPLOYEE BENEFITS
 DESING, INC., TRUST FUNDS
 Other Chapter 7 Administrative        2990-000              NA         $121.82             $121.82       $121.82
 Expenses - Matco Electric Corp
 Other Chapter 7 Administrative        2990-000          $0.00             $0.00               $0.00         $0.00
 Expenses - Connecticut General
 Life Insurance
 Other Chapter 7 Administrative        2990-000              NA      $488,894.98         $488,894.98   $488,894.98
 Expenses - Constar International
 Inc.
 Other Chapter 7 Administrative        2990-000              NA      $445,916.39         $445,916.39   $445,916.39
 Expenses - Port City Electric
 Company
 Attorney for Trustee Fees (Other      3210-000              NA      $285,830.94         $285,830.94   $285,830.94
 Firm) - Flaster/Greenberg P. C.
 Attorney for Trustee Fees (Other      3210-000              NA      $931,550.00         $931,550.00   $931,550.00
 Firm) - Kaufman Coren and Ress P.
 C.
 Attorney for Trustee Fees (Other      3210-000              NA            $0.00               $0.00         $0.00
 Firm) - Stites & Harbison PLLC
 Attorney for Trustee Expenses         3220-000              NA       $18,578.50          $18,578.50    $18,578.50
 (Other Firm) - Flaster/Greenberg P.
 C.

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 Attorney for Trustee Expenses          3220-000              NA         $10,758.17          $10,758.17        $10,758.17
 (Other Firm) - Kaufman Coren and
 Ress P. C.
 Arbitrator/Mediator for Trustee Fees   3721-000              NA             $478.00            $478.00             $478.00
 - BIFFERATO LLC
 Arbitrator/Mediator for Trustee Fees   3721-000              NA         $11,551.50          $11,551.50        $11,551.50
 - Cozen O'Connor
 Arbitrator/Mediator for Trustee        3722-000              NA              $14.58             $14.58              $14.58
 Expenses - BIFFERATO LLC
 Consultant for Trustee Fees - The      3731-000              NA         $34,100.12          $34,100.12        $34,100.12
 Brownstein Corporation
 TOTAL CHAPTER 7 ADMIN. FEES
                                                              NA       $2,565,380.49       $2,565,380.49     $2,565,380.49
        AND CHARGES




EXHIBIT 5 – PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES

                               UNIFORM           CLAIMS            CLAIMS           CLAIMS                 CLAIMS
         PAYEE
                              TRAN. CODE       SCHEDULED          ASSERTED         ALLOWED                  PAID

                                                           None




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 EXHIBIT 6 – PRIORITY UNSECURED CLAIMS


                                                                       CLAIMS
                                     UNIFORM        CLAIMS
                                                                      ASSERTED              CLAIMS         CLAIMS
 CLAIM NO.        CLAIMANT            TRAN.      SCHEDULED
                                                                   (from Proofs of         ALLOWED          PAID
                                      CODE      (from Form 6E)
                                                                        Claim)

     1       The Guardian Life       5400-000             $0.00          $79,382.00         $79,382.00          $0.00
             Insurance Company

     2A      William Skibitsky       5300-000        $10,950.00         $303,750.00              $0.00          $0.00


     3A      Jim Urbas               5300-000        $10,950.00         $145,000.00              $0.00          $0.00


     4p      Dennis Dugan            5300-000        $10,950.00         $265,503.78          $7,484.32       $405.72


     7       Secretary Of Labor      5400-000             $0.00               $0.00              $0.00          $0.00
             Elaine L. Chao

     9       Michael J. Grassetti    5400-000             $0.00               $0.00              $0.00          $0.00


    10p      Connecticut General     5400-000             $0.00               $0.00              $0.00          $0.00
             Life Insurance

    16p      Department of the       5800-000         $2,591.25           $2,591.25              $0.00          $0.00
             Treasury

    21p      Newstarcom WARN         5300-000             $0.00       $3,194,369.00       $3,194,369.00   $173,163.25
             QSF

             Internal Revenue        5800-000               NA                  NA             $420.00          $0.00
             Service - EFTPS - 940

             Internal Revenue        5300-000               NA                  NA             $158.78          $8.61
             Service - EFTPS - 941

             Internal Revenue        5300-000               NA                  NA             $678.90        $36.80
             Service - EFTPS - 941

             Internal Revenue        5300-000               NA                  NA           $2,628.00       $142.46
             Service - EFTPS - 941

             Internal Revenue        5800-000               NA                  NA             $158.78          $0.00
             Service - EFTPS - 941

             Internal Revenue        5800-000               NA                  NA             $678.90          $0.00
             Service - EFTPS - 941

    N/F      John Kearney            5300-000        $10,950.00                 NA                   NA           NA




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    N/F     Steve Cumbow           5300-000      $10,950.00              NA                   NA           NA


           TOTAL PRIORITY
          UNSECURED CLAIMS                       $57,341.25    $3,990,596.03       $3,285,958.68   $173,756.84




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 EXHIBIT 7 – GENERAL UNSECURED CLAIMS


                                                                       CLAIMS
                                     UNIFORM        CLAIMS
                                                                      ASSERTED              CLAIMS        CLAIMS
 CLAIM NO.          CLAIMANT          TRAN.      SCHEDULED
                                                                   (from Proofs of         ALLOWED         PAID
                                      CODE      (from Form 6F)
                                                                        Claim)

     2B      William Skibitsky       7100-000       $536,550.00               $0.00        $218,205.82       $0.00


     3B      Jim Urbas               7100-000       $254,050.00               $0.00         $99,857.70       $0.00


     4u      Dennis Dugan            7100-000       $245,588.00               $0.00        $181,530.04       $0.00


     5       AT&T Corp.              7100-000             $0.00               $0.00              $0.00       $0.00


     6       Granite City Electric   7100-000             $0.00               $0.00              $0.00       $0.00
             Supply Co., Inc.

     8B      RBS Citizens National   7100-000             $0.00               $0.00       $2,436,470.37      $0.00
             Association

     11      Timothy K. Bridge       7100-000             $0.00               $0.00              $0.00       $0.00


     12      Donald R. Fairbanks     7100-000             $0.00               $0.00              $0.00       $0.00


     13      Todd & Weld LLP         7200-000             $0.00          $22,893.51              $0.00       $0.00


     14      Infinity Systems        7200-000             $0.00               $0.00              $0.00       $0.00


     15      ATLANTIC BOSTON         7200-000             $0.00         $177,730.00              $0.00       $0.00
             CONSTRUCTION,
             INC.

    16u      Department of the       7200-000             $0.00           $3,053.35              $0.00       $0.00
             Treasury

     17      Department of the       7200-000             $0.00               $0.00              $0.00       $0.00
             Treasury

     18      AT&T                    7200-000             $0.00               $0.00              $0.00       $0.00


     19      RBS Citizens National   7100-000             $0.00         $100,000.00        $100,000.00       $0.00
             Association

    21u      Newstarcom WARN         7100-000             $0.00       $1,600,000.00        $739,126.00       $0.00
             QSF

             Internal Revenue        7100-000               NA                  NA             $840.00       $0.00
             Service - EFTPS - 940


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            Internal Revenue        7100-000               NA                NA      $10,197.91   $0.00
            Service - EFTPS - 941

            Internal Revenue        7100-000               NA                NA      $24,719.40   $0.00
            Service - EFTPS - 941

            Internal Revenue        7100-000               NA                NA      $10,197.91   $0.00
            Service - EFTPS - 941

            Internal Revenue        7100-000               NA                NA      $24,719.40   $0.00
            Service - EFTPS - 941

            Internal Revenue        7100-000               NA                NA     $168,792.91   $0.00
            Service - EFTPS - 941

    N/F     American Capital        7100-000    $31,681,084.00               NA             NA      NA
            Strategies, Ltd.

    N/F     CIGNA Health Plan       7100-000      $850,000.00                NA             NA      NA


    N/F     Citizens Bank           7100-000      $229,813.98                NA             NA      NA


    N/F     John Kearney            7100-000      $147,858.00                NA             NA      NA


    N/F     Steve Cumbow            7100-000       $29,050.00                NA             NA      NA


    N/F     Wilsondale, LLC         7100-000     $1,817,360.00               NA             NA      NA


            TOTAL GENERAL
           UNSECURED CLAIMS                     $35,791,353.98   $1,903,676.86    $4,014,657.46   $0.00




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                                                                Form 1
                                                                                                                                                            Exhibit 8
                                            Individual Estate Property Record and Report                                                                    Page: 1

                                                             Asset Cases
Case No.:    08-10108- CSS                                                                         Trustee Name:      (280160) George L. Miller
Case Name:         NEWSTARCOM HOLDINGS, INC.                                                       Date Filed (f) or Converted (c): 01/14/2008 (f)
                                                                                                   § 341(a) Meeting Date:       02/15/2008
For Period Ending:         09/07/2021                                                              Claims Bar Date:      05/22/2008

                                        1                                    2                    3                      4                   5                   6

                           Asset Description                              Petition/       Estimated Net Value     Property Formally     Sale/Funds          Asset Fully
                (Scheduled And Unscheduled (u) Property)                Unscheduled      (Value Determined By        Abandoned        Received by the    Administered (FA)/
                                                                           Values               Trustee,             OA=§554(a)           Estate          Gross Value of
                                                                                        Less Liens, Exemptions,       abandon.                           Remaining Assets
  Ref. #                                                                                   and Other Costs)

    1       BANK ACCOUNT-Citizens Bank account                                   0.00                      0.00                              9,980.00                         FA
            Account No. 786-7

    2       STOCK                                                           Unknown                        0.00                                   0.00                        FA
            100 shares of common stock in NSC Holdings, Inc.

    3       FEDERAL TAX REFUNDS                                           258,290.00                       0.00                                  13.12                        FA
            TAX WAS PAID BY CONSTAR INTERNATIONAL,
            INC. CASE NO. 08-10111 AND REFUND REPORT IN
            THAT DEBTOR.

    4       BANK ACCOUNT - Citizens Bank                                         0.00                      0.00                                   0.00                        FA
            Account Number 113993-141-2

    5       D&O Litigation (u)                                               1,000.00                 1,000.00                         2,184,088.44                           FA
            Settlement approved by Court Order dated 3/10/2017
            [D.I. 852]. Pursuant to Court Order dated 08/14/2018
            [D.I. 914], the net settlement proceeds allocated to Port
            City Electric (08-10110) are $407,955.78; and to
            Constar International (08-10111) are $407,955.78.

    6       VOID (u)                                                             0.00                      0.00                                   0.00                        FA

    7       Preferences (u)                                                      0.00                      0.00                                   0.00                        FA
            There were no preferences for this Debtor. All
            preferences were with the Jointly Administered
            Debtors.

    8       CITIBANK DELAWARE, ACCT                                       336,435.36               336,435.36                             436,435.36                          FA
            #30618872 (u)

    9       DEPOSITS TO THIS DEBTOR IN                                           0.00                      0.00                                   0.00                        FA
            ERROR (u)

   10       Letter of Credit Settlement (u)                               375,000.00               375,000.00                             375,000.00                          FA
            Adv. Pro. No. 18-50281; Settlement approved by Court
            Order dated 12/10/2018 [D.I. 937].

   11       Insider Fraudulent Conveyance (u)                                1,111.00                 1,111.00                                    0.00                        FA
            Gross Value of Remaining Assets of $1,111.00 is
            simply a placeholder and should in no way be
            construed as the Trustee's true estimate of the value of
            the asset.

   INT      INTEREST (u)                                                    Unknown                         N/A                                  91.06                        FA

   12       Assets Totals (Excluding unknown values)                     $971,836.36              $713,546.36                         $3,005,607.98                     $0.00




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                                                       Form 1
                                                                                                                                   Exhibit 8
                                   Individual Estate Property Record and Report                                                    Page: 2

                                                    Asset Cases
Case No.:   08-10108- CSS                                                   Trustee Name:      (280160) George L. Miller
Case Name:      NEWSTARCOM HOLDINGS, INC.                                   Date Filed (f) or Converted (c): 01/14/2008 (f)
                                                                            § 341(a) Meeting Date:    02/15/2008
For Period Ending:    09/07/2021                                            Claims Bar Date:     05/22/2008


 Major Activities Affecting Case Closing:

                            Jointly administered with 08-10109; 08-10110; and 08-10111.
                            12/31/2016: Allocation of legal fees and expenses to the appropriate debtor; review of claims. The
                            Defendants to the Fraudulent Conveyance matter filed two Motions for Summary Judgment. One motion was
                            settled for $3,000,000 in December, 2016 pending an acceptable settlement agreement, Bankruptcy Court
                            approval, and allocation among the jointly administered debtors. The second motion is under appeal and the
                            appeal has not been decided.

                            12/31/2017: Allocation of legal fees and expenses to the appropriate debtor; review of claims. The
                            Defendants to the Fraudulent Conveyance matter filed two Motions for Summary Judgment. One motion was
                            settled for $3,000,000 in December, 2016. The second motion is under appeal and the appeal has not been
                            decided. An objection to an $11,000,000 WARN Act claim was filed by the Trustee. The Court has not set a
                            trial date on the objection.

                            12/31/2018: Prosecution of appeal on insider Fraudulent Conveyance; prosecution of WARN Act claim
                            objection set for February 2019; allocation of assets among certain debtors.

                            12/31/2019: Prosecution of appeal on insider Fraudulent Conveyance. Mediation scheduled for January 15,
                            2020. Possible allocation of certain assets among debtors.


 Initial Projected Date Of Final Report (TFR): 12/31/2010           Current Projected Date Of Final Report (TFR):     09/30/2020 (Actual)




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                                                                 Form 2                                                                                      Exhibit 9
                                                                                                                                                             Page: 1
                                                 Cash Receipts And Disbursements Record
Case No.:              08-10108- CSS                                       Trustee Name:                       George L. Miller (280160)
Case Name:             NEWSTARCOM HOLDINGS, INC.                           Bank Name:                          JPMORGAN CHASE BANK, N.A.
Taxpayer ID #:         **-***6710                                          Account #:                          ********4865 Money Market Account
For Period Ending:     09/07/2021                                          Blanket Bond (per case limit):      $5,000,000.00
                                                                           Separate Bond (if applicable):      N/A

    1            2                      3                                          4                                  5                       6                          7

  Trans.    Check or        Paid To / Received From           Description of Transaction           Uniform       Deposit                Disbursement           Account Balance
   Date      Ref. #                                                                               Tran. Code       $                          $

 07/02/08     {9}      MFS Qualified Settlement Fund      Settlement to litigation prior to        1280-000                345.38                                             345.38
                                                          Bankruptcy filing (funds transferred
                                                          to Constar - check #1004 dated
                                                          12/09/08, a/c 6312)
 07/02/08     {9}      MFS Qualified Settlement Fund      Settlement to litigation prior to        1280-000               3,802.67                                           4,148.05
                                                          Bankruptcy filing (funds transferred
                                                          to Constar - check #1004 dated
                                                          12/09/08, a/c 6312)
 07/25/08     {9}      Koster Industries, Inc.            Auction Proceeds (funds                  1280-000          434,452.99                                          438,601.04
                                                          transferred to Constar:
                                                          $224,435.15 check #101 dated
                                                          07/30/08, a/c 4866; Port City:
                                                          $211,017.84 check #102 dated
                                                          07/30/08, a/c 4866)
 07/30/08     {9}      Koster Industries                  Adjustment - deposit should have         1280-000               1,000.00                                       439,601.04
                                                          been $435,452.99. See
                                                          description at deposit on 07/25/08.
                                                          Funds transferred to Constar and
                                                          Port City
 07/30/08              TO ACCT # ********4866             Transfer to Split into Constar and       9999-000                                  435,452.99                      4,148.05
                                                          Port City
 07/31/08     Int      JPMORGAN CHASE BANK, N.A.          Interest posting at 0.3700%              1270-000                  9.72                                            4,157.77
 08/29/08     Int      JPMORGAN CHASE BANK, N.A.          Interest posting at 0.3700%              1270-000                  1.22                                            4,158.99
 10/01/08     Int      JPMorgan Chase Bank, N.A.          Interest posting at 0.3700%              1270-000                  1.30                                            4,160.29
 10/01/08              TRANSFER TO ACCT#                  Transfer of Funds                        9999-000                                       4,160.29                       0.00
                       XXXXXX6312

                                            COLUMN TOTALS                                                            439,613.28              439,613.28                         $0.00
                                                   Less: Bank Transfers/CDs                                                   0.00           439,613.28
                                            Subtotal                                                                 439,613.28                       0.00
                                                   Less: Payments to Debtors                                                                          0.00

                                            NET Receipts / Disbursements                                          $439,613.28                        $0.00




{ } Asset Reference(s)        UST Form 101-7-TDR ( 10 /1/2010)                                                                       ! - transaction has not been cleared
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                                                                 Form 2                                                                                 Exhibit 9
                                                                                                                                                        Page: 2
                                                 Cash Receipts And Disbursements Record
Case No.:              08-10108- CSS                                        Trustee Name:                     George L. Miller (280160)
Case Name:             NEWSTARCOM HOLDINGS, INC.                            Bank Name:                        JPMORGAN CHASE BANK, N.A.
Taxpayer ID #:         **-***6710                                           Account #:                        ********4866 Checking Account
For Period Ending:     09/07/2021                                           Blanket Bond (per case limit):    $5,000,000.00
                                                                            Separate Bond (if applicable):    N/A

    1            2                      3                                           4                                5                     6                        7

  Trans.    Check or       Paid To / Received From             Description of Transaction         Uniform       Deposit              Disbursement         Account Balance
   Date      Ref. #                                                                              Tran. Code       $                        $

 07/30/08              FROM ACCT # ********4865            Transfer to Split into Constar and     9999-000          435,452.99                                      435,452.99
                                                           Port City
 07/30/08    101 {9}   Constar International Inc.          Distribution of auction funds          1280-000          -224,435.15                                     211,017.84
                                                           totaling $435,452.99 to Constar
                                                           and Port City
 07/30/08    102 {9}   Port City Electric Company          Distribution of auction funds          1280-000          -211,017.84                                           0.00
                                                           totaling $435,452.99 to Constar
                                                           and Port City

                                            COLUMN TOTALS                                                                  0.00                  0.00                    $0.00
                                                    Less: Bank Transfers/CDs                                        435,452.99                   0.00
                                            Subtotal                                                                -435,452.99                  0.00
                                                    Less: Payments to Debtors                                                                    0.00

                                            NET Receipts / Disbursements                                        -$435,452.99                    $0.00




{ } Asset Reference(s)        UST Form 101-7-TDR ( 10 /1/2010)                                                                    ! - transaction has not been cleared
                                Case 08-10108-CSS                         Doc 1002           Filed 09/16/21            Page 15 of 36

                                                                  Form 2                                                                                Exhibit 9
                                                                                                                                                        Page: 3
                                                  Cash Receipts And Disbursements Record
Case No.:              08-10108- CSS                                        Trustee Name:                    George L. Miller (280160)
Case Name:             NEWSTARCOM HOLDINGS, INC.                            Bank Name:                       BANK OF AMERICA, N.A.
Taxpayer ID #:         **-***6710                                           Account #:                       ******6312 Money Market Account (Int
For Period Ending:     09/07/2021                                           Blanket Bond (per case limit):   $5,000,000.00
                                                                            Separate Bond (if applicable):   N/A

    1            2                       3                                           4                             5                       6                        7

  Trans.    Check or       Paid To / Received From             Description of Transaction       Uniform        Deposit               Disbursement         Account Balance
   Date      Ref. #                                                                            Tran. Code        $                         $

 10/01/08              TRANSFER FROM ACCT#                 Transfer of Funds                    9999-000               4,160.29                                         4,160.29
                       XXXXXX4865
 10/31/08     Int      Bank of America                     Interest Rate 0.350                  1270-000                  1.29                                          4,161.58
 11/28/08     Int      Bank of America                     Interest Rate 0.230                  1270-000                  0.81                                          4,162.39
 12/09/08    1001      CONSTAR INTERNATIONAL               DEPOSITED INTO WRONG                 1290-004            -4,148.05                                             14.34
                       INC.                                ACCOUNT
                                                           Voided on 12/09/2008
 12/09/08    1001      CONSTAR INTERNATIONAL               DEPOSITED INTO WRONG                 1290-004               4,148.05                                         4,162.39
                       INC.                                ACCOUNT
                                                           Voided: check issued on
                                                           12/09/2008
 12/09/08    1002      CONSTAR INTERNATIONAL,              DEPOSITED INTO WRONG                 1290-004                 -14.34                                         4,148.05
                       INC.                                ACCOUNT
                                                           Voided on 12/09/2008
 12/09/08    1002      CONSTAR INTERNATIONAL,              DEPOSITED INTO WRONG                 1290-004                 14.34                                          4,162.39
                       INC.                                ACCOUNT
                                                           Voided: check issued on
                                                           12/09/2008
 12/09/08    1003      CONSTAR INTERNATIONAL INC           Incorrectly deposited into this      1270-000                 -14.34                                         4,148.05
              Int                                          account
 12/09/08   1004 {9}   CONSTAR INTERNATIONAL INC           INCORRECTLY DEPOSITED                1280-000            -4,148.05                                               0.00
                                                           INTO THIS CASE
 12/31/08     Int      Bank of America                     Interest Rate 0.060                  1270-000                  0.26                                              0.26
 01/20/09     Int      Bank of America                     INTEREST ERRONEOUSLY                 1270-000                  -0.26                                             0.00
                                                           POSTED TO ACCOUNT - BANK
                                                           REVERSED

                                             COLUMN TOTALS                                                                 0.00                  0.00                      $0.00
                                                    Less: Bank Transfers/CDs                                           4,160.29                  0.00
                                             Subtotal                                                               -4,160.29                    0.00
                                                    Less: Payments to Debtors                                                                    0.00

                                             NET Receipts / Disbursements                                          -$4,160.29                   $0.00




{ } Asset Reference(s)       UST Form 101-7-TDR ( 10 /1/2010)                                                                     ! - transaction has not been cleared
                                 Case 08-10108-CSS                   Doc 1002                Filed 09/16/21           Page 16 of 36

                                                                  Form 2                                                                              Exhibit 9
                                                                                                                                                      Page: 4
                                                  Cash Receipts And Disbursements Record
Case No.:              08-10108- CSS                                    Trustee Name:                      George L. Miller (280160)
Case Name:             NEWSTARCOM HOLDINGS, INC.                        Bank Name:                         UNION BANK
Taxpayer ID #:         **-***6710                                       Account #:                         ******6421 DEPOSIT ACCOUNT
For Period Ending:     09/07/2021                                       Blanket Bond (per case limit):     $5,000,000.00
                                                                        Separate Bond (if applicable):     N/A

    1            2                     3                                        4                                 5                       6                       7

  Trans.    Check or       Paid To / Received From         Description of Transaction          Uniform       Deposit                Disbursement        Account Balance
   Date      Ref. #                                                                           Tran. Code       $                          $

 12/01/09              TRANSFER FROM ACCT#             Transfer of Funds                       9999-000          296,090.62                                       296,090.62
                       XXXXXX0505
 12/11/09              TRANSFER TO ACCT#               Transfer of Funds TO PAY                9999-000                                  266,470.65                   29,619.97
                       XXXXXX8120                      CITIZENS PER CARVE OUT
                                                       AGREEMENT
 12/31/09     Int      Union Bank of California        Interest Rate 0.250                     1270-000                 24.52                                         29,644.49
 01/14/10        1     INTERNATIONAL SURETIES          BOND NUMBER 016026389                   2300-000                                       25.95                   29,618.54
 01/29/10     Int      Union Bank of California        Bank adjusted interest rate to 0.25     1270-000                  2.80                                         29,621.34
                                                       credit adjustment for difference
 01/29/10     Int      Union Bank of California        Interest Rate 0.10                      1270-000                  3.08                                         29,624.42
 02/26/10     Int      Union Bank of California        Interest Rate 0.25                      1270-000                  5.66                                         29,630.08
 03/31/10     Int      Union Bank of California        Interest Rate 0.25                      1270-000                  6.67                                         29,636.75
 04/30/10     Int      Union Bank of California        Interest Rate 0.250                     1270-000                  6.09                                         29,642.84
 05/28/10     Int      Union Bank of California        Interest Rate 0.200                     1270-000                  4.62                                         29,647.46
 06/30/10     Int      Union Bank of California        Interest Rate 0.200                     1270-000                  5.35                                         29,652.81
 07/30/10     Int      Union Bank of California        Interest Rate 0.100                     1270-000                  2.55                                         29,655.36
 08/31/10     Int      Union Bank of California        Interest Rate 0.100                     1270-000                  2.59                                         29,657.95
 09/30/10     Int      Union Bank of California        Interest Rate 0.100                     1270-000                  2.43                                         29,660.38
 10/11/10     {7}      PRINTEX                         PREF. SETT. ADV. NO. 10-50078           1241-000               1,375.00                                        31,035.38
                                                       PAYMENT 1 OF 4 (02/02/2011:
                                                       FUNDS INCORRECTLY
                                                       DEPOSITED TO THIS CASE;
                                                       MOVED TO CONSTAR, 08-10111)
 10/11/10     {7}      GUTIERREZ CONSTRUCTION          PREF. SETT. ADV. NO. 10-50116           1241-000           15,930.43                                           46,965.81
                       CO INC                          02/02/2011: FUNDS
                                                       INCORRECTLY DEPOSITED TO
                                                       THIS CASE; MOVED TO
                                                       CONSTAR, 08-10111
 10/29/10     Int      Union Bank of California        Interest Rate 0.100                     1270-000                  3.15                                         46,968.96
 11/03/10     {7}      CONSOLIDATED ELECTRICAL         PREF. SETT. ADV. NO. 10-50073           1241-000               5,000.00                                        51,968.96
                       DISTRIBUTORS, INC               2/02/2011: FUNDS
                                                       INCORRECTLY DEPOSITED TO
                                                       THIS CASE; PORT CITY 08-
                                                       10110
 11/03/10     {7}      EATON CORP                      PREF. SETT. ADV. NO. 10-50098           1241-000               2,500.00                                        54,468.96
                                                       2/02/2011: FUNDS
                                                       INCORRECTLY DEPOSITED TO
                                                       THIS CASE; MOVED TO PORT
                                                       CITY ELECTRIC COMPANY (08-
                                                       10110)
 11/17/10     {7}      PRINTEX                         PREF. SETT. ADV. NO. 10-50078           1241-000               1,375.00                                        55,843.96
                                                       PAYMENT 2 OF 4 (02/02/2011:
                                                       FUNDS INCORRECTLY
                                                       DEPOSITED TO THIS CASE;
                                                       MOVED TO CONSTAR, 08-10111)
 11/29/10     {9}      AMICA MUTUAL INSURANCE          A/R SETT., ADV. NO. 10-50114            1280-000               9,598.00                                        65,441.96
                       COMPANY                         BASED UPON TRUSTEE
                                                       REVIEW, COLLECTION
                                                       TRANSFERRED TO CONSTAR
                                                       INTERNATIONAL, INC., BKY. NO.
                                                       08-10111 ON JULY 13, 2011.
 11/30/10     Int      Union Bank of California        Interest Rate 0.050                     1270-000                  2.45                                         65,444.41
 12/14/10     {7}      WESCO DISTRIBUTION INC          PREF. SETT. ADV. NO. 10-50092           1241-000           88,000.00                                       153,444.41
                                                       2/02/2011: FUNDS
                                                       INCORRECTLY DEPOSITED TO
                                                       THIS CASE; MOVED TO
                                                       CONSTAR, 08-10111

                                                                                         Page Subtotals:     $419,941.01              $266,496.60


{ } Asset Reference(s)        UST Form 101-7-TDR ( 10 /1/2010)                                                                   ! - transaction has not been cleared
                                 Case 08-10108-CSS                   Doc 1002            Filed 09/16/21              Page 17 of 36

                                                                  Form 2                                                                              Exhibit 9
                                                                                                                                                      Page: 5
                                                  Cash Receipts And Disbursements Record
Case No.:              08-10108- CSS                                   Trustee Name:                      George L. Miller (280160)
Case Name:             NEWSTARCOM HOLDINGS, INC.                       Bank Name:                         UNION BANK
Taxpayer ID #:         **-***6710                                      Account #:                         ******6421 DEPOSIT ACCOUNT
For Period Ending:     09/07/2021                                      Blanket Bond (per case limit):     $5,000,000.00
                                                                       Separate Bond (if applicable):     N/A

    1            2                     3                                       4                                 5                       6                        7

  Trans.    Check or       Paid To / Received From         Description of Transaction       Uniform         Deposit                Disbursement         Account Balance
   Date      Ref. #                                                                        Tran. Code         $                          $

 12/16/10     {7}      PRINTEX                         PREF. SETT. ADV. NO. 10-50078        1241-000                 1,375.00                                     154,819.41
                                                       PAYMENT 3 OF 4 (02/02/2011:
                                                       FUNDS INCORRECTLY
                                                       DEPOSITED TO THIS CASE;
                                                       MOVED TO CONSTAR, 08-10111)
 12/31/10     Int      Union Bank of California        Interest Rate 0.050                  1270-000                    4.72                                      154,824.13
 01/03/11     {9}      DIMEO CONSTRUCTION              A/R SETTLEMENT ADV. NO. 10-          1280-000            259,405.25                                        414,229.38
                       COMPANY                         50105 PAYMENT 1 1/04/2011:
                                                       FUNDS INCORRECTLY
                                                       DEPOSITED TO THIS CASE AS
                                                       PREF. SETT.; MOVED TO
                                                       CONSTAR, 08-10111 AS A/R
                                                       SETT.
 01/04/11    2 {9}     CONSTAR INTERNATIONAL INC       A/R SETTLEMENT ADV. NO. 10-          1280-000            -259,405.25                                       154,824.13
                                                       50105 PREFERENCE CHECK
                                                       FROM DIMEO CONSTRUCTION
                                                       CO DEPOSITED TO WRONG
                                                       DEBTOR (NEWSTARCOM
                                                       HOLDINGS, 08-10108)
 01/19/11     {7}      PRINTEX                         PREF. SETT. ADV. NO. 10-50078        1241-000                 1,425.00                                     156,249.13
                                                       FINAL PAYMENT 4 OF 4
                                                       (02/02/2011: FUNDS
                                                       INCORRECTLY DEPOSITED TO
                                                       THIS CASE; MOVED TO
                                                       CONSTAR, 08-10111)
 01/31/11     Int      Union Bank of California        Interest Rate 0.050                  1270-000                    2.26                                      156,251.39
 02/02/11        3     INTERNATIONAL SURETIES          BLANKET BOND FROM                    2300-000                                         153.99               156,097.40
                                                       01/01/2011 THRU 01/01/2012
                                                       BOND #016026389
 02/02/11    4 {7}     CONSTAR INTERNATIONAL INC       PREF. SETT. ADV. NO. 10-50078,       1241-000              -1,375.00                                       154,722.40
                                                       PAYMENT 1 OF 4 PREFERENCE
                                                       CHECK FROM PRINTEX
                                                       DEPOSITED TO WRONG
                                                       DEBTOR (NEWSTARCOM
                                                       HOLDINGS, 08-10108). SHOULD
                                                       BE CONSTAR INTERNATIONAL
                                                       (08-10111)
 02/02/11    5 {7}     CONSTAR INTERNATIONAL INC       PREF. SETT. ADV. NO. 10-50078        1241-000              -1,375.00                                       153,347.40
                                                       PAYMENT 2 OF 4 PREFERENCE
                                                       CHECK FROM PRINTEX
                                                       DEPOSITED TO WRONG
                                                       DEBTOR (NEWSTARCOM
                                                       HOLDINGS, 08-10108). SHOULD
                                                       BE CONSTAR INTERNATIONAL
                                                       (08-10111)
 02/02/11    6 {7}     CONSTAR INTERNATIONAL           PREF. SETT. ADV. NO. 10-50078        1241-000              -1,375.00                                       151,972.40
                                                       PAYMENT 3 OF 4 PREFERENCE
                                                       CHECK FROM PRINTEX
                                                       DEPOSITED TO WRONG
                                                       DEBTOR (NEWSTARCOM
                                                       HOLDINGS, 08-10108). SHOULD
                                                       BE CONSTAR INTERNATIONAL
                                                       (08-10111)
 02/02/11    7 {7}     CONSTAR INTERNATIONAL INC       PREF. SETT. ADV. NO. 10-50078        1241-000              -1,425.00                                       150,547.40
                                                       PAYMENT 4 OF 4 PREFERENCE
                                                       CHECK FROM PRINTEX
                                                       DEPOSITED TO WRONG
                                                       DEBTOR (NEWSTARCOM
                                                       HOLDINGS, 08-10108). SHOULD
                                                       BE CONSTAR INTERNATIONAL
                                                       (08-10111)




                                                                                        Page Subtotals:         -$2,743.02               $153.99


{ } Asset Reference(s)        UST Form 101-7-TDR ( 10 /1/2010)                                                                  ! - transaction has not been cleared
                                 Case 08-10108-CSS                    Doc 1002            Filed 09/16/21             Page 18 of 36

                                                                  Form 2                                                                                Exhibit 9
                                                                                                                                                        Page: 6
                                                  Cash Receipts And Disbursements Record
Case No.:              08-10108- CSS                                     Trustee Name:                    George L. Miller (280160)
Case Name:             NEWSTARCOM HOLDINGS, INC.                         Bank Name:                       UNION BANK
Taxpayer ID #:         **-***6710                                        Account #:                       ******6421 DEPOSIT ACCOUNT
For Period Ending:     09/07/2021                                        Blanket Bond (per case limit):   $5,000,000.00
                                                                         Separate Bond (if applicable):   N/A

    1            2                     3                                         4                               5                       6                          7

  Trans.    Check or       Paid To / Received From           Description of Transaction      Uniform        Deposit                Disbursement           Account Balance
   Date      Ref. #                                                                         Tran. Code        $                          $

 02/02/11    8 {7}     CONSTAR INTERNATIONAL INC         PREF. SETT. ADV. NO. 10-50116       1241-000           -15,930.43                                          134,616.97
                                                         PREFERENCE CHECK FROM
                                                         GUTIERREZ CONSTRUCTION
                                                         CO INC INCORRECTLY
                                                         DEPOSITED INTO
                                                         NEWSTARCOM (08-10108).
                                                         SHOULD HAVE BEEN CONSTAR
                                                         INTERNATIONAL (08-10111)
 02/02/11    9 {7}     PORT CITY ELECTRIC                PREF. SETT. ADV. NO. 10-50098       1241-000            -2,500.00                                          132,116.97
                       COMPANY                           PREFERENCE CHECK FROM
                                                         EATON CORP INCORRECTLY
                                                         DEPOSITED INTO
                                                         NEWSTARCOM (08-10108).
                                                         SHOULD HAVE BEEN PORT
                                                         CITY ELECTRIC COMPANY (08-
                                                         10110)
 02/02/11    10 {7}    CONSTAR INTERNATIONAL INC         PREF. SETT. ADV. NO. 10-50073       1241-000            -5,000.00                                          127,116.97
                                                         PREFERENCE CHECK FROM
                                                         CONSOLIDATED ELECTRICAL
                                                         DISTRIBUTORS INC
                                                         INCORRECTLY DEPOSITED
                                                         INTO NEWSTARCOM (08-10108).
                                                         SHOULD HAVE BEEN CONSTAR
                                                         INTERNATIONAL (08-10111)
 02/02/11    11 {7}    CONSTAR INTERNATIONAL INC         PREF. SETT. ADV. NO. 10-50092       1241-000           -88,000.00                                              39,116.97
                                                         PREFERENCE CHECK FROM
                                                         WESCO DISTRIBUTION INC
                                                         INCORRECTLY DEPOSITED
                                                         INTO NEWSTARCOM (08-10108).
                                                         SHOULD HAVE BEEN CONSTAR
                                                         INTERNATIONAL (08-10111)
 07/13/11              TRANSFER TO ACCT#                 Transfer of Funds                   9999-000                                        9,598.00                   29,518.97
                       XXXXXX8120
 08/10/11              TRANSFER TO ACCT#                 Transfer of Funds TO PAY            9999-000                                        1,760.16                   27,758.81
                       XXXXXX8120                        PEPPER HAMILTON
 08/11/11              TRANSFER FROM ACCT#               Transfer of Funds - FUNDS           9999-000                1,760.16                                           29,518.97
                       XXXXXX8120                        TRANSFERRED IN ERROR
 08/29/11     {3}      UNITED STATES TREASURY            TAX REFUND - 941 P/E 12/07          1129-000                  13.12                                            29,532.09
 09/26/11              Union Bank of California          BANK SERVICES FEE (CHK)             2600-000                                          71.29                    29,460.80
 10/25/11              Union Bank of California          BANK SERVICES FEE (CHK)             2600-000                                          71.29                    29,389.51
 11/16/11     {8}      CITIBANK DELAWARE                 SETT. ADV. NO. 08-51790             1229-000           100,000.00                                          129,389.51
                                                         pursuant to Court Order dated
                                                         01/27/2012 [D.I. 640]
 11/25/11              Union Bank of California          BANK SERVICES FEE (CHK)             2600-000                                          71.29                129,318.22
 12/15/11              TRANSFER TO ACCT#                 Transfer of Funds                   9999-000                                   129,171.90                        146.32
                       XXXXXX0043
 12/15/11              Union Bank of California                                              2600-000                                         146.32                         0.00

                                           COLUMN TOTALS                                                        407,540.84              407,540.84                          $0.00
                                                  Less: Bank Transfers/CDs                                      297,850.78              407,000.71
                                           Subtotal                                                             109,690.06                     540.13
                                                  Less: Payments to Debtors                                                                      0.00

                                           NET Receipts / Disbursements                                      $109,690.06                      $540.13




{ } Asset Reference(s)        UST Form 101-7-TDR ( 10 /1/2010)                                                                  ! - transaction has not been cleared
                                Case 08-10108-CSS                        Doc 1002           Filed 09/16/21             Page 19 of 36

                                                                  Form 2                                                                              Exhibit 9
                                                                                                                                                      Page: 7
                                                  Cash Receipts And Disbursements Record
Case No.:              08-10108- CSS                                       Trustee Name:                    George L. Miller (280160)
Case Name:             NEWSTARCOM HOLDINGS, INC.                           Bank Name:                       BANK OF AMERICA, N.A.
Taxpayer ID #:         **-***6710                                          Account #:                       ******0505 MONEY MARKET ACCOUNT
For Period Ending:     09/07/2021                                          Blanket Bond (per case limit):   $5,000,000.00
                                                                           Separate Bond (if applicable):   N/A

    1            2                       3                                         4                               5                     6                        7

  Trans.    Check or       Paid To / Received From             Description of Transaction      Uniform        Deposit              Disbursement         Account Balance
   Date      Ref. #                                                                           Tran. Code        $                        $

 11/11/09     {8}      CITIBANK DELAWRE                    PURSUANT TO ORDER DATED             1229-000           296,078.50                                      296,078.50
                                                           10/29/2009 BETWEEN CITIZENS
                                                           BANK AND THE TRUSTEE [D.I.
                                                           363]
 11/30/09     Int      Bank of America                     Interest Rate 0.100                 1270-000                 12.12                                     296,090.62
 12/01/09              TRANSFER TO ACCT#                   Transfer of Funds                   9999-000                                 296,090.62                      0.00
                       XXXXXX6421

                                             COLUMN TOTALS                                                        296,090.62            296,090.62                     $0.00
                                                    Less: Bank Transfers/CDs                                             0.00           296,090.62
                                             Subtotal                                                             296,090.62                   0.00
                                                    Less: Payments to Debtors                                                                  0.00

                                             NET Receipts / Disbursements                                      $296,090.62                    $0.00




{ } Asset Reference(s)       UST Form 101-7-TDR ( 10 /1/2010)                                                                   ! - transaction has not been cleared
                                Case 08-10108-CSS                   Doc 1002            Filed 09/16/21             Page 20 of 36

                                                              Form 2                                                                                  Exhibit 9
                                                                                                                                                      Page: 8
                                              Cash Receipts And Disbursements Record
Case No.:              08-10108- CSS                                   Trustee Name:                    George L. Miller (280160)
Case Name:             NEWSTARCOM HOLDINGS, INC.                       Bank Name:                       UNION BANK
Taxpayer ID #:         **-***6710                                      Account #:                       ******8120 CHECKING ACCOUNT
For Period Ending:     09/07/2021                                      Blanket Bond (per case limit):   $5,000,000.00
                                                                       Separate Bond (if applicable):   N/A

    1            2                   3                                         4                               5                       6                          7

  Trans.    Check or       Paid To / Received From         Description of Transaction      Uniform        Deposit                Disbursement           Account Balance
   Date      Ref. #                                                                       Tran. Code        $                          $

 12/11/09              TRANSFER FROM ACCT#             Transfer of Funds TO PAY            9999-000           266,470.65                                          266,470.65
                       XXXXXX6421                      CITIZENS PER CARVE OUT
                                                       AGREEMENT
 12/11/09    3001      CITIZENS BANK                   TURNOVER OF RESERVE                 4210-000                                   115,000.00                  151,470.65
                                                       PURSUANT TO ORDER DATED
                                                       10/29/09 & CARVEOUT
                                                       AGREEMENT APPROVED BY
                                                       COURT ON 4/15/08
 12/11/09    3002      CITIZENS BANK                   TURNOVER OF RESERVE                 4210-000                                   115,470.65                      36,000.00
                                                       PURSUANT TO ORDER DATED
                                                       10/29/09 & CARVEOUT
                                                       AGREEMENT APPROVED BY
                                                       COURT ON 4/15/08
 12/17/09    3003      CITIZENS BANK                   TURNOVER OF RESERVE                 4210-000                                    36,000.00                           0.00
                                                       PURSUANT TO ORDER DATED
                                                       10/29/09 & CARVEOUT
                                                       AGREEMENT APPROVED BY
                                                       COURT ON 4/15/08
 07/13/11              TRANSFER FROM ACCT#             Transfer of Funds                   9999-000                9,598.00                                            9,598.00
                       XXXXXX6421
 07/13/11   3004 {9}   CONSTAR INTERNATIONAL INC       FUNDS INCORRECTLY                   1280-000            -9,598.00                                                   0.00
                                                       DEPOSITED TO THIS CASE
                                                       INTO ACCT ENDING 6421ON
                                                       11/29/2010; MOVED TO
                                                       CONSTAR INTERNATIONAL,
                                                       BKY. NO. 08-10111.
 08/10/11              TRANSFER FROM ACCT#             Transfer of Funds TO PAY            9999-000                1,760.16                                            1,760.16
                       XXXXXX6421                      PEPPER HAMILTON
 08/11/11              TRANSFER TO ACCT#               Transfer of Funds - FUNDS           9999-000                                        1,760.16                        0.00
                       XXXXXX6421                      TRANSFERRED IN ERROR

                                         COLUMN TOTALS                                                        268,230.81              268,230.81                          $0.00
                                                Less: Bank Transfers/CDs                                      277,828.81                   1,760.16
                                         Subtotal                                                              -9,598.00              266,470.65
                                                Less: Payments to Debtors                                                                      0.00

                                         NET Receipts / Disbursements                                         -$9,598.00             $266,470.65




{ } Asset Reference(s)       UST Form 101-7-TDR ( 10 /1/2010)                                                                 ! - transaction has not been cleared
                                Case 08-10108-CSS                   Doc 1002            Filed 09/16/21            Page 21 of 36

                                                              Form 2                                                                             Exhibit 9
                                                                                                                                                 Page: 9
                                              Cash Receipts And Disbursements Record
Case No.:              08-10108- CSS                                   Trustee Name:                    George L. Miller (280160)
Case Name:             NEWSTARCOM HOLDINGS, INC.                       Bank Name:                       UNION BANK
Taxpayer ID #:         **-***6710                                      Account #:                       ******0118 ESCROW - EMPLOYEE BENEFIT
For Period Ending:     09/07/2021                                      Blanket Bond (per case limit):   $5,000,000.00
                                                                       Separate Bond (if applicable):   N/A

    1            2                   3                                         4                              5                     6                        7

  Trans.    Check or       Paid To / Received From         Description of Transaction      Uniform        Deposit             Disbursement         Account Balance
   Date      Ref. #                                                                       Tran. Code        $                       $

 09/21/11     {8}      CITIBANK DELAWARE               TURNOVER OF FUNDS FROM              1229-000           40,356.86                                          40,356.86
                                                       DEBTOR'S HEALTH & WELFARE
                                                       EMPLOYEE BENEFIT PROGRAM
                                                       PURSUANT TO COURT ORDER
                                                       DATED 10/29/2009 [D.I. #363].
 12/15/11              TRANSFER TO ACCT#               Transfer of Funds                   9999-000                                 40,356.86                         0.00
                       XXXXXX0044

                                         COLUMN TOTALS                                                         40,356.86             40,356.86                       $0.00
                                                Less: Bank Transfers/CDs                                            0.00             40,356.86
                                         Subtotal                                                              40,356.86                  0.00
                                                Less: Payments to Debtors                                                                 0.00

                                         NET Receipts / Disbursements                                         $40,356.86                 $0.00




{ } Asset Reference(s)       UST Form 101-7-TDR ( 10 /1/2010)                                                              ! - transaction has not been cleared
                                Case 08-10108-CSS                 Doc 1002                 Filed 09/16/21           Page 22 of 36

                                                             Form 2                                                                                Exhibit 9
                                                                                                                                                   Page: 10
                                             Cash Receipts And Disbursements Record
Case No.:              08-10108- CSS                                 Trustee Name:                       George L. Miller (280160)
Case Name:             NEWSTARCOM HOLDINGS, INC.                     Bank Name:                          EagleBank
Taxpayer ID #:         **-***6710                                    Account #:                          ******0043 DEPOSIT ACCOUNT
For Period Ending:     09/07/2021                                    Blanket Bond (per case limit):      $5,000,000.00
                                                                     Separate Bond (if applicable):      N/A

    1            2                   3                                       4                                  5                    6                         7

  Trans.    Check or       Paid To / Received From       Description of Transaction          Uniform       Deposit             Disbursement          Account Balance
   Date      Ref. #                                                                         Tran. Code       $                       $

 12/15/11              TRANSFER FROM ACCT#           Transfer of Funds                       9999-000          129,171.90                                      129,171.90
                       XXXXXX6421
 01/18/12   500001     INTERNATIONAL SURETIES,       BLANKET BOND FROM                       2300-000                                    170.80                129,001.10
                       LTD                           01/01/2012 THRU 01/01/2013
                                                     BOND #016026389
 10/01/12   500002     BIFFERATO LLC                 INVOICE #256878 DATED                                                               738.86                128,262.24
                                                     04/02/12 - MEDIATION v.
                                                     MARSHALL, EGAN, WOOD, LAIL,
                                                     JOLLEY, ALBERT (PAID @ 50%
                                                     RE: WARN ACT); CHECK
                                                     ISSUED FOR INCORRECT
                                                     AMOUNT.
                                                     Voided on 10/01/2012
                                                     Fees                                    3721-004
                                                                                 $717.00
                                                     Expenses                                3722-004
                                                                                  $21.86
 10/01/12   500002     BIFFERATO LLC                 INVOICE #256878 DATED                                                               -738.86               129,001.10
                                                     04/02/12 - MEDIATION v.
                                                     MARSHALL, EGAN, WOOD, LAIL,
                                                     JOLLEY, ALBERT (PAID @ 50%
                                                     RE: WARN ACT); CHECK
                                                     ISSUED FOR INCORRECT
                                                     AMOUNT.
                                                     Voided: check issued on
                                                     10/01/2012
                                                     Fees                                    3721-004
                                                                                 $717.00
                                                     Expenses                                3722-004
                                                                                  $21.86
 10/01/12   500003     BIFFERATO LLC                 INVOICE #256878 DATED                                                               492.58                128,508.52
                                                     04/02/12 - MEDIATION v.
                                                     MARSHALL, EGAN, WOOD, LAIL,
                                                     JOLLEY, ALBERT Re: WARN ACT
                                                     (PAID @ 1/3 RE: WARN ACT)
                                                     Expenses                                3722-000
                                                                                  $14.58
                                                     Fees                                    3721-000
                                                                                 $478.00
 01/28/13     {9}      DEPUY                         A/R. SETT. ADV. NO. 10-50115            1280-000           70,910.75                                      199,419.27
                                                     TO BE TRANSFERRED TO
                                                     CONSTAR. Check received made
                                                     payable to Newstarcom Holdings,
                                                     Inc.
 01/28/13   500004     CONSTAR INTERNATIONAL         CHECK #500004: A/R SETT. ADV.           1280-000          -70,910.75                                      128,508.52
              {9}                                    NO. 10-50115 FUNDS
                                                     TRANSFERREDTO CONSTAR
                                                     INTERNATIONAL, 08-10111
 01/29/13   500005     INTERNATIONAL SURETIES,       BLANKET BOND FROM                       2300-000                                    140.72                128,367.80
                       LTD                           01/01/2013 THRU 01/01/2014
                                                     BOND #016026389
 02/12/13              Eagle Bank                    BANK SERVICE CHARGE                     2600-000                                    160.00                128,207.80
 03/07/13              TRANSFER TO ACCT#             Transfer of Funds                       9999-000                               128,037.80                     170.00
                       XXXXXX0463
 03/07/13              Eagle Bank                    bank fee - March 2013 pro rata          2600-000                                     30.00                    140.00
 03/07/13              Eagle Bank                    bank fee - February 2013                2600-000                                    140.00                      0.00


                                                                                      Page Subtotals:      $129,171.90           $129,171.90


{ } Asset Reference(s)       UST Form 101-7-TDR ( 10 /1/2010)                                                               ! - transaction has not been cleared
                                Case 08-10108-CSS                   Doc 1002            Filed 09/16/21            Page 23 of 36

                                                              Form 2                                                                                Exhibit 9
                                                                                                                                                    Page: 11
                                              Cash Receipts And Disbursements Record
Case No.:              08-10108- CSS                                   Trustee Name:                    George L. Miller (280160)
Case Name:             NEWSTARCOM HOLDINGS, INC.                       Bank Name:                       EagleBank
Taxpayer ID #:         **-***6710                                      Account #:                       ******0043 DEPOSIT ACCOUNT
For Period Ending:     09/07/2021                                      Blanket Bond (per case limit):   $5,000,000.00
                                                                       Separate Bond (if applicable):   N/A

    1            2                   3                                         4                              5                      6                          7

  Trans.    Check or       Paid To / Received From         Description of Transaction      Uniform        Deposit              Disbursement           Account Balance
   Date      Ref. #                                                                       Tran. Code        $                        $


                                         COLUMN TOTALS                                                        129,171.90            129,171.90                      $0.00
                                                Less: Bank Transfers/CDs                                      129,171.90            128,037.80
                                         Subtotal                                                                    0.00                1,134.10
                                                Less: Payments to Debtors                                                                   0.00

                                         NET Receipts / Disbursements                                               $0.00             $1,134.10




{ } Asset Reference(s)       UST Form 101-7-TDR ( 10 /1/2010)                                                               ! - transaction has not been cleared
                                Case 08-10108-CSS                   Doc 1002            Filed 09/16/21            Page 24 of 36

                                                              Form 2                                                                              Exhibit 9
                                                                                                                                                  Page: 12
                                              Cash Receipts And Disbursements Record
Case No.:              08-10108- CSS                                   Trustee Name:                    George L. Miller (280160)
Case Name:             NEWSTARCOM HOLDINGS, INC.                       Bank Name:                       EagleBank
Taxpayer ID #:         **-***6710                                      Account #:                       ******0044 ESCROW - EMPLOYEE BENEFIT
For Period Ending:     09/07/2021                                      Blanket Bond (per case limit):   $5,000,000.00
                                                                       Separate Bond (if applicable):   N/A

    1            2                   3                                         4                              5                      6                        7

  Trans.    Check or       Paid To / Received From         Description of Transaction      Uniform        Deposit              Disbursement         Account Balance
   Date      Ref. #                                                                       Tran. Code        $                        $

 12/15/11              TRANSFER FROM ACCT#             Transfer of Funds                   9999-000           40,356.86                                           40,356.86
                       XXXXXX0118
 11/15/12   505001     EMPLOYEE BENEFITS DESING,       CLAIMS ACCOUNT FUNDING              2990-000                                  22,196.27                    18,160.59
                       INC., TRUST FUNDS               PURSUANT TO COURT ORDER
                                                       DATED 05/09/12 [D.I. 686]
 03/07/13              TRANSFER TO ACCT#               Transfer of Funds                   9999-000                                  18,160.59                         0.00
                       XXXXXX0455

                                         COLUMN TOTALS                                                        40,356.86               40,356.86                       $0.00
                                                Less: Bank Transfers/CDs                                      40,356.86               18,160.59
                                         Subtotal                                                                    0.00             22,196.27
                                                Less: Payments to Debtors                                                                  0.00

                                         NET Receipts / Disbursements                                               $0.00           $22,196.27




{ } Asset Reference(s)       UST Form 101-7-TDR ( 10 /1/2010)                                                               ! - transaction has not been cleared
                                Case 08-10108-CSS                   Doc 1002             Filed 09/16/21           Page 25 of 36

                                                              Form 2                                                                               Exhibit 9
                                                                                                                                                   Page: 13
                                              Cash Receipts And Disbursements Record
Case No.:              08-10108- CSS                                   Trustee Name:                    George L. Miller (280160)
Case Name:             NEWSTARCOM HOLDINGS, INC.                       Bank Name:                       UNION BANK
Taxpayer ID #:         **-***6710                                      Account #:                       ******0455 ESCROW - EMPLOYEE BENEFIT
For Period Ending:     09/07/2021                                      Blanket Bond (per case limit):   $5,000,000.00
                                                                       Separate Bond (if applicable):   N/A

    1            2                   3                                         4                              5                       6                        7

  Trans.    Check or       Paid To / Received From         Description of Transaction      Uniform        Deposit               Disbursement         Account Balance
   Date      Ref. #                                                                       Tran. Code        $                         $

 03/07/13              TRANSFER FROM ACCT#             Transfer of Funds                   9999-000           18,160.59                                            18,160.59
                       XXXXXX0044
 01/06/14     {7}      GRANITE CITY ELECTRIC           PREF. SETT. ADV. NO. 10-50088       1241-000               5,000.00                                         23,160.59
                       SUPPLY COMPANY                  PURSUANT TO COURT
                                                       APPROVAL DATED 02/24/14 [D.I.
                                                       774] MOVED TO CONSTAR, 08-
                                                       10111 ON 07/08/14 AS PREF.
                                                       SETTLEMENT.
 07/08/14   600001     CONSTAR INTERNATIONAL,          Granite City - PREF. SETT. ADV.     1241-000           -5,000.00                                            18,160.59
              {7}      INC.                            NO. 10-50088 PURSUANT TO
                                                       COURT APPROVAL DATED
                                                       02/24/14 [D.I. 774] FUNDS
                                                       TRANSFERRED TO CONSTAR
                                                       INTERNATIONAL, 08-10111
 10/16/17              DEBTOR'S BANKRUPTCY             TRANSFER OF FUNDS TO                9999-000                                   18,160.59                         0.00
                       ESTATE                          RABOBANK

                                         COLUMN TOTALS                                                        18,160.59                18,160.59                       $0.00
                                                Less: Bank Transfers/CDs                                      18,160.59                18,160.59
                                         Subtotal                                                                     0.00                  0.00
                                                Less: Payments to Debtors                                                                   0.00

                                         NET Receipts / Disbursements                                                $0.00                 $0.00




{ } Asset Reference(s)       UST Form 101-7-TDR ( 10 /1/2010)                                                                ! - transaction has not been cleared
                                Case 08-10108-CSS                  Doc 1002                Filed 09/16/21           Page 26 of 36

                                                             Form 2                                                                               Exhibit 9
                                                                                                                                                  Page: 14
                                             Cash Receipts And Disbursements Record
Case No.:              08-10108- CSS                                 Trustee Name:                       George L. Miller (280160)
Case Name:             NEWSTARCOM HOLDINGS, INC.                     Bank Name:                          UNION BANK
Taxpayer ID #:         **-***6710                                    Account #:                          ******0463 DEPOSIT ACCOUNT
For Period Ending:     09/07/2021                                    Blanket Bond (per case limit):      $5,000,000.00
                                                                     Separate Bond (if applicable):      N/A

    1            2                   3                                       4                                  5                    6                        7

  Trans.    Check or       Paid To / Received From       Description of Transaction          Uniform       Deposit             Disbursement         Account Balance
   Date      Ref. #                                                                         Tran. Code       $                       $

 03/07/13              TRANSFER FROM ACCT#           Transfer of Funds                       9999-000          128,037.80                                     128,037.80
                       XXXXXX0043
 04/25/13              Union Bank                    BANK SERVICES FEE (CHK)                 2600-000                                    153.47               127,884.33
 05/28/13              Union Bank                    BANK SERVICES FEE (CHK)                 2600-000                                    184.12               127,700.21
 06/25/13              Union Bank                    BANK SERVICES FEE (CHK)                 2600-000                                    190.04               127,510.17
 07/25/13              Union Bank                    BANK SERVICES FEE (CHK)                 2600-000                                    183.62               127,326.55
 08/26/13              Union Bank                    BANK SERVICES FEE (CHK)                 2600-000                                    189.46               127,137.09
 09/25/13              Union Bank                    BANK SERVICES FEE (CHK)                 2600-000                                    189.19               126,947.90
 10/25/13              Union Bank                    BANK SERVICES FEE (CHK)                 2600-000                                    182.81               126,765.09
 11/25/13              Union Bank                    Bank Service Fee under 11 U.S.C.        2600-000                                    188.62               126,576.47
                                                     § 330(a)(1)(B), 503(b)(1), and
                                                     507(a)(2)
 12/26/13              Union Bank                    Bank Service Fee under 11 U.S.C.        2600-000                                    182.28               126,394.19
                                                     § 330(a)(1)(B), 503(b)(1), and
                                                     507(a)(2)
 01/27/14              Union Bank                    Bank Service Fee under 11 U.S.C.        2600-000                                    188.08               126,206.11
                                                     § 330(a)(1)(B), 503(b)(1), and
                                                     507(a)(2)
 02/06/14   601001     INTERNATIONAL SURETIES,       2014 Blanket Bond #016026389            2300-000                                    167.31               126,038.80
                       LTD.                          for the Period 01/01/14 to 01/01/15
 02/25/14              Union Bank                    Bank Service Fee under 11 U.S.C.        2600-000                                    187.81               125,850.99
                                                     § 330(a)(1)(B), 503(b)(1), and
                                                     507(a)(2)
 03/25/14              Union Bank                    Bank Service Fee under 11 U.S.C.        2600-000                                    169.26               125,681.73
                                                     § 330(a)(1)(B), 503(b)(1), and
                                                     507(a)(2)
 04/25/14              Union Bank                    Bank Service Fee under 11 U.S.C.        2600-000                                    186.99               125,494.74
                                                     § 330(a)(1)(B), 503(b)(1), and
                                                     507(a)(2)
 05/27/14              Union Bank                    Bank Service Fee under 11 U.S.C.        2600-000                                    180.72               125,314.02
                                                     § 330(a)(1)(B), 503(b)(1), and
                                                     507(a)(2)
 06/25/14              Union Bank                    Bank Service Fee under 11 U.S.C.        2600-000                                    186.48               125,127.54
                                                     § 330(a)(1)(B), 503(b)(1), and
                                                     507(a)(2)
 07/25/14              Union Bank                    Bank Service Fee under 11 U.S.C.        2600-000                                    180.19               124,947.35
                                                     § 330(a)(1)(B), 503(b)(1), and
                                                     507(a)(2)
 08/25/14              Union Bank                    Bank Service Fee under 11 U.S.C.        2600-000                                    185.92               124,761.43
                                                     § 330(a)(1)(B), 503(b)(1), and
                                                     507(a)(2)
 09/25/14              Union Bank                    Bank Service Fee under 11 U.S.C.        2600-000                                    185.65               124,575.78
                                                     § 330(a)(1)(B), 503(b)(1), and
                                                     507(a)(2)
 10/27/14              Union Bank                    Bank Service Fee under 11 U.S.C.        2600-000                                    179.40               124,396.38
                                                     § 330(a)(1)(B), 503(b)(1), and
                                                     507(a)(2)
 11/25/14              Union Bank                    Bank Service Fee under 11 U.S.C.        2600-000                                    185.11               124,211.27
                                                     § 330(a)(1)(B), 503(b)(1), and
                                                     507(a)(2)
 12/26/14              Union Bank                    Bank Service Fee under 11 U.S.C.        2600-000                                    178.87               124,032.40
                                                     § 330(a)(1)(B), 503(b)(1), and
                                                     507(a)(2)
 01/07/15   601002     INTERNATIONAL SURETIES,       Blanket Bond Payment Bond               2300-000                                    167.06               123,865.34
                       LTD.                          #016026389 from 01/01/15 to
                                                     01/01/16


                                                                                      Page Subtotals:      $128,037.80             $4,172.46


{ } Asset Reference(s)       UST Form 101-7-TDR ( 10 /1/2010)                                                               ! - transaction has not been cleared
                                 Case 08-10108-CSS                Doc 1002              Filed 09/16/21            Page 27 of 36

                                                               Form 2                                                                           Exhibit 9
                                                                                                                                                Page: 15
                                               Cash Receipts And Disbursements Record
Case No.:              08-10108- CSS                                 Trustee Name:                      George L. Miller (280160)
Case Name:             NEWSTARCOM HOLDINGS, INC.                     Bank Name:                         UNION BANK
Taxpayer ID #:         **-***6710                                    Account #:                         ******0463 DEPOSIT ACCOUNT
For Period Ending:     09/07/2021                                    Blanket Bond (per case limit):     $5,000,000.00
                                                                     Separate Bond (if applicable):     N/A

    1            2                     3                                     4                                5                    6                        7

  Trans.    Check or       Paid To / Received From       Description of Transaction       Uniform         Deposit            Disbursement         Account Balance
   Date      Ref. #                                                                      Tran. Code         $                      $

 01/26/15              Union Bank                    Bank Service Fee under 11 U.S.C.     2600-000                                     184.56               123,680.78
                                                     § 330(a)(1)(B), 503(b)(1), and
                                                     507(a)(2)
 02/25/15              Union Bank                    Bank Service Fee under 11 U.S.C.     2600-000                                     184.15               123,496.63
                                                     § 330(a)(1)(B), 503(b)(1), and
                                                     507(a)(2)
 03/09/15              Global Surety, LLC            Blanket Bond Premium                 2300-000                                     -64.71               123,561.34
                                                     Adjustment: Bond #016026389
                                                     from 01/01/15 to 01/01/16
 03/25/15              Union Bank                    Bank Service Fee under 11 U.S.C.     2600-000                                     166.00               123,395.34
                                                     § 330(a)(1)(B), 503(b)(1), and
                                                     507(a)(2)
 04/27/15              Union Bank                    Bank Service Fee under 11 U.S.C.     2600-000                                     183.57               123,211.77
                                                     § 330(a)(1)(B), 503(b)(1), and
                                                     507(a)(2)
 05/26/15              Union Bank                    Bank Service Fee under 11 U.S.C.     2600-000                                     177.45               123,034.32
                                                     § 330(a)(1)(B), 503(b)(1), and
                                                     507(a)(2)
 06/25/15              Union Bank                    Bank Service Fee under 11 U.S.C.     2600-000                                     183.08               122,851.24
                                                     § 330(a)(1)(B), 503(b)(1), and
                                                     507(a)(2)
 07/27/15              Union Bank                    Bank Service Fee under 11 U.S.C.     2600-000                                     176.91               122,674.33
                                                     § 330(a)(1)(B), 503(b)(1), and
                                                     507(a)(2)
 08/25/15              Union Bank                    Bank Service Fee under 11 U.S.C.     2600-000                                     182.55               122,491.78
                                                     § 330(a)(1)(B), 503(b)(1), and
                                                     507(a)(2)
 09/25/15              Union Bank                    Bank Service Fee under 11 U.S.C.     2600-000                                     182.27               122,309.51
                                                     § 330(a)(1)(B), 503(b)(1), and
                                                     507(a)(2)
 10/26/15              Union Bank                    Bank Service Fee under 11 U.S.C.     2600-000                                     176.13               122,133.38
                                                     § 330(a)(1)(B), 503(b)(1), and
                                                     507(a)(2)
 11/25/15              Union Bank                    Bank Service Fee under 11 U.S.C.     2600-000                                     181.74               121,951.64
                                                     § 330(a)(1)(B), 503(b)(1), and
                                                     507(a)(2)
 12/28/15              Union Bank                    Bank Service Fee under 11 U.S.C.     2600-000                                     175.62               121,776.02
                                                     § 330(a)(1)(B), 503(b)(1), and
                                                     507(a)(2)
 01/06/16   601003     International Sureties LTD    Blanket Bond Payment Bond            2300-000                                      77.52               121,698.50
                                                     #016026389 from 01/01/16 to
                                                     01/01/17
 01/25/16              Union Bank                    Bank Service Fee under 11 U.S.C.     2600-000                                     181.22               121,517.28
                                                     § 330(a)(1)(B), 503(b)(1), and
                                                     507(a)(2)
 02/25/16              Union Bank                    Bank Service Fee under 11 U.S.C.     2600-000                                     180.36               121,336.92
                                                     § 330(a)(1)(B), 503(b)(1), and
                                                     507(a)(2)
 03/25/16              Union Bank                    Bank Service Fee under 11 U.S.C.     2600-000                                     168.45               121,168.47
                                                     § 330(a)(1)(B), 503(b)(1), and
                                                     507(a)(2)
 04/25/16              Union Bank                    Bank Service Fee under 11 U.S.C.     2600-000                                     179.79               120,988.68
                                                     § 330(a)(1)(B), 503(b)(1), and
                                                     507(a)(2)
 05/25/16              Union Bank                    Bank Service Fee under 11 U.S.C.     2600-000                                     173.75               120,814.93
                                                     § 330(a)(1)(B), 503(b)(1), and
                                                     507(a)(2)
 06/27/16              Union Bank                    Bank Service Fee under 11 U.S.C.     2600-000                                     179.28               120,635.65
                                                     § 330(a)(1)(B), 503(b)(1), and
                                                     507(a)(2)

                                                                                      Page Subtotals:             $0.00          $3,229.69


{ } Asset Reference(s)        UST Form 101-7-TDR ( 10 /1/2010)                                                            ! - transaction has not been cleared
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                                                                 Form 2                                                                               Exhibit 9
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                                                 Cash Receipts And Disbursements Record
Case No.:              08-10108- CSS                                   Trustee Name:                       George L. Miller (280160)
Case Name:             NEWSTARCOM HOLDINGS, INC.                       Bank Name:                          UNION BANK
Taxpayer ID #:         **-***6710                                      Account #:                          ******0463 DEPOSIT ACCOUNT
For Period Ending:     09/07/2021                                      Blanket Bond (per case limit):      $5,000,000.00
                                                                       Separate Bond (if applicable):      N/A

    1            2                     3                                        4                                5                       6                        7

  Trans.    Check or       Paid To / Received From        Description of Transaction           Uniform       Deposit               Disbursement         Account Balance
   Date      Ref. #                                                                           Tran. Code       $                         $

 07/15/16     {1}      Citizens Bank                  Turnover of Wells Fargo Account          1129-000              9,980.00                                     130,615.65
                                                      #7867
 07/25/16              Union Bank                     Bank Service Fee under 11 U.S.C.         2600-000                                      173.27               130,442.38
                                                      § 330(a)(1)(B), 503(b)(1), and
                                                      507(a)(2)
 08/25/16              Union Bank                     Bank Service Fee under 11 U.S.C.         2600-000                                      185.43               130,256.95
                                                      § 330(a)(1)(B), 503(b)(1), and
                                                      507(a)(2)
 09/26/16              Union Bank                     Bank Service Fee under 11 U.S.C.         2600-000                                      193.28               130,063.67
                                                      § 330(a)(1)(B), 503(b)(1), and
                                                      507(a)(2)
 10/25/16              Union Bank                     Bank Service Fee under 11 U.S.C.         2600-000                                      186.80               129,876.87
                                                      § 330(a)(1)(B), 503(b)(1), and
                                                      507(a)(2)
 11/25/16              Union Bank                     Bank Service Fee under 11 U.S.C.         2600-000                                      192.72               129,684.15
                                                      § 330(a)(1)(B), 503(b)(1), and
                                                      507(a)(2)
 12/27/16              Union Bank                     Bank Service Fee under 11 U.S.C.         2600-000                                      186.24               129,497.91
                                                      § 330(a)(1)(B), 503(b)(1), and
                                                      507(a)(2)
 01/12/17   601004     International Sureties LTD     Blanket Bond Renewal Bond                2300-000                                       71.18               129,426.73
                                                      #016026389 from 01/01/17 to
                                                      01/01/18
 01/25/17              Union Bank                     Bank Service Fee under 11 U.S.C.         2600-000                                      192.18               129,234.55
                                                      § 330(a)(1)(B), 503(b)(1), and
                                                      507(a)(2)
 02/27/17              Union Bank                     Bank Service Fee under 11 U.S.C.         2600-000                                      192.38               129,042.17
                                                      § 330(a)(1)(B), 503(b)(1), and
                                                      507(a)(2)
 03/27/17              Union Bank                     Bank Service Fee under 11 U.S.C.         2600-000                                      173.47               128,868.70
                                                      § 330(a)(1)(B), 503(b)(1), and
                                                      507(a)(2)
 04/05/17     {5}      ACAS. LLC                      Wire-In: D&O Litigation settlement       1249-000      3,000,000.00                                     3,128,868.70
                                                      pursuant to Court Order dated
                                                      03/10/2017 [D.I. 852]
 04/07/17   601005     Kaufman Coren and Ress P. C.   6th Interim Application for                                                       841,621.38            2,287,247.32
                                                      Reimbursement of Expenses
                                                      pursuant to Court Order dated
                                                      03/06/2017 [D.I. 848] (Includes
                                                      $300 due from 1st Interim Fee
                                                      Application)
                       Kaufman Coren and Ress P. C.   Expenses - 6th Interim                   3220-000
                                                                                 $7,221.26
                       Kaufman Coren and Ress P. C.   Fees - 6th Interim                       3210-000
                                                                               $800,300.00
                       The Brownstein Corporation     The Brownstein Corporation Fees -        3731-000
                                                      6th Interim (KCR Expenses)
                                                                                $34,100.12
 04/11/17   601006     Flaster/Greenberg P. C.        Attorney Fees pursuant to Court                                                   113,598.38            2,173,648.94
                                                      Order dated 02/13/2017 [D.I. 843]
                                                      Approval of Fees/Expenses by
                                                      Case
                       Flaster/Greenberg P. C.        Fees                                     3210-000
                                                                                $99,898.19
                       Flaster/Greenberg P. C.        Expenses                                 3220-000
                                                                                $13,700.19


                                                                                        Page Subtotals:    $3,009,980.00             $956,966.71


{ } Asset Reference(s)        UST Form 101-7-TDR ( 10 /1/2010)                                                                  ! - transaction has not been cleared
                                Case 08-10108-CSS                   Doc 1002              Filed 09/16/21          Page 29 of 36

                                                              Form 2                                                                               Exhibit 9
                                                                                                                                                   Page: 17
                                              Cash Receipts And Disbursements Record
Case No.:              08-10108- CSS                                   Trustee Name:                    George L. Miller (280160)
Case Name:             NEWSTARCOM HOLDINGS, INC.                       Bank Name:                       UNION BANK
Taxpayer ID #:         **-***6710                                      Account #:                       ******0463 DEPOSIT ACCOUNT
For Period Ending:     09/07/2021                                      Blanket Bond (per case limit):   $5,000,000.00
                                                                       Separate Bond (if applicable):   N/A

    1            2                   3                                         4                              5                     6                          7

  Trans.    Check or       Paid To / Received From         Description of Transaction       Uniform       Deposit             Disbursement           Account Balance
   Date      Ref. #                                                                        Tran. Code       $                       $

 04/25/17              Union Bank                      Bank Service Fee under 11 U.S.C.     2600-000                                     191.75            2,173,457.19
                                                       § 330(a)(1)(B), 503(b)(1), and
                                                       507(a)(2)
 05/25/17              Union Bank                      Bank Service Fee under 11 U.S.C.     2600-000                                    2,864.00           2,170,593.19
                                                       § 330(a)(1)(B), 503(b)(1), and
                                                       507(a)(2)
 06/26/17              Union Bank                      Bank Service Fee under 11 U.S.C.     2600-000                                    3,229.45           2,167,363.74
                                                       § 330(a)(1)(B), 503(b)(1), and
                                                       507(a)(2)
 07/25/17              Union Bank                      Bank Service Fee under 11 U.S.C.     2600-000                                    3,121.31           2,164,242.43
                                                       § 330(a)(1)(B), 503(b)(1), and
                                                       507(a)(2)
 08/25/17              Union Bank                      Bank Service Fee under 11 U.S.C.     2600-000                                    3,220.31           2,161,022.12
                                                       § 330(a)(1)(B), 503(b)(1), and
                                                       507(a)(2)
 09/25/17              Union Bank                      Bank Service Fee under 11 U.S.C.     2600-000                                    3,215.64           2,157,806.48
                                                       § 330(a)(1)(B), 503(b)(1), and
                                                       507(a)(2)
 10/16/17              DEBTOR'S BANKRUPTCY             TRANSFER OF FUNDS TO                 9999-000                             2,157,806.48                      0.00
                       ESTATE                          RABOBANK

                                         COLUMN TOTALS                                                     3,138,017.80           3,138,017.80                     $0.00
                                                Less: Bank Transfers/CDs                                      128,037.80          2,157,806.48
                                         Subtotal                                                          3,009,980.00            980,211.32
                                                Less: Payments to Debtors                                                                   0.00

                                         NET Receipts / Disbursements                                    $3,009,980.00            $980,211.32




{ } Asset Reference(s)       UST Form 101-7-TDR ( 10 /1/2010)                                                              ! - transaction has not been cleared
                                 Case 08-10108-CSS                   Doc 1002            Filed 09/16/21            Page 30 of 36

                                                                Form 2                                                                             Exhibit 9
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                                                Cash Receipts And Disbursements Record
Case No.:              08-10108- CSS                                    Trustee Name:                    George L. Miller (280160)
Case Name:             NEWSTARCOM HOLDINGS, INC.                        Bank Name:                       Mechanics Bank
Taxpayer ID #:         **-***6710                                       Account #:                       ******6566 ESCROW - EMPLOYEE BENEFIT
For Period Ending:     09/07/2021                                       Blanket Bond (per case limit):   $5,000,000.00
                                                                        Separate Bond (if applicable):   N/A

    1            2                    3                                         4                              5                      6                        7

  Trans.    Check or       Paid To / Received From          Description of Transaction      Uniform        Deposit              Disbursement         Account Balance
   Date      Ref. #                                                                        Tran. Code        $                        $

 10/16/17              DEBTOR'S BANKRUPTCY              TRANSFER OF FUNDS FROM              9999-000           18,160.59                                           18,160.59
                       ESTATE                           UNION BANK
 11/07/17              To Account #******6567           To close account                    9999-000                                  18,160.59                         0.00

                                          COLUMN TOTALS                                                        18,160.59               18,160.59                       $0.00
                                                 Less: Bank Transfers/CDs                                      18,160.59               18,160.59
                                          Subtotal                                                                    0.00                  0.00
                                                 Less: Payments to Debtors                                                                  0.00

                                          NET Receipts / Disbursements                                               $0.00                 $0.00




{ } Asset Reference(s)       UST Form 101-7-TDR ( 10 /1/2010)                                                                ! - transaction has not been cleared
                                  Case 08-10108-CSS                  Doc 1002                  Filed 09/16/21           Page 31 of 36

                                                                 Form 2                                                                                  Exhibit 9
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                                                 Cash Receipts And Disbursements Record
Case No.:              08-10108- CSS                                   Trustee Name:                         George L. Miller (280160)
Case Name:             NEWSTARCOM HOLDINGS, INC.                       Bank Name:                            Mechanics Bank
Taxpayer ID #:         **-***6710                                      Account #:                            ******6567 DEPOSIT ACCOUNT
For Period Ending:     09/07/2021                                      Blanket Bond (per case limit):        $5,000,000.00
                                                                       Separate Bond (if applicable):        N/A

    1            2                      3                                        4                                  5                     6                          7

  Trans.    Check or        Paid To / Received From        Description of Transaction            Uniform       Deposit              Disbursement           Account Balance
   Date      Ref. #                                                                             Tran. Code       $                        $

 10/16/17              DEBTOR'S BANKRUPTCY             TRANSFER OF FUNDS FROM                    9999-000      2,157,806.48                                      2,157,806.48
                       ESTATE                          UNION BANK
 10/31/17              Rabobank, N.A.                  Bank and Technology Services              2600-000                                     1,438.35           2,156,368.13
                                                       Fees
 11/07/17              To Account #******6567          To close account                          9999-000           18,160.59                                    2,174,528.72
 11/30/17              Rabobank, N.A.                  Bank and Technology Services              2600-000                                     2,876.71           2,171,652.01
                                                       Fees
 12/29/17              Rabobank, N.A.                  Bank and Technology Services              2600-000                                     2,780.82           2,168,871.19
                                                       Fees
 01/10/18   710001     International Sureties,, LTD.   Blanket Bond Renewal                      2300-000                                      766.59            2,168,104.60
                                                       #016026389 from 01/01/18 to
                                                       01/01/19
 01/31/18              Rabobank, N.A.                  Bank and Technology Services              2600-000                                     3,164.38           2,164,940.22
                                                       Fees
 02/28/18              Rabobank, N.A.                  Bank and Technology Services              2600-000                                     2,684.93           2,162,255.29
                                                       Fees
 03/30/18              Rabobank, N.A.                  Bank and Technology Services              2600-000                                     2,876.71           2,159,378.58
                                                       Fees
 04/30/18              Rabobank, N.A.                  Bank and Technology Services              2600-000                                     2,780.82           2,156,597.76
                                                       Fees
 05/31/18              Rabobank, N.A.                  Bank and Technology Services              2600-000                                     3,164.38           2,153,433.38
                                                       Fees
 06/14/18   710002     Flaster/Greenberg P. C.         14th Interim Fee Application                                                      148,827.60              2,004,605.78
                                                       pursuant to Court Order dated
                                                       06/11/18 [D.I. 898]
                       Flaster/Greenberg P. C.         Fees - 14th Interim                       3210-000
                                                                             $145,920.75
                       Flaster/Greenberg P. C.         Expenses - 14th Interim                   3220-000
                                                                                 $2,906.85
 06/14/18   710003     Miller Coffey Tate LLP          14th Interim Fee Application                                                      125,189.41              1,879,416.37
                                                       pursuant to Court Order dated
                                                       06/11/18 [D.I. 901]
                       Miller Coffey Tate LLP          Fees - 14th Interim                       3310-000
                                                                             $124,835.00
                       Miller Coffey Tate LLP          Expenses - 14th Interim                   3320-000
                                                                                     $354.41
 06/29/18              Rabobank, N.A.                  Bank and Technology Services              2600-000                                     2,699.88           1,876,716.49
                                                       Fees
 07/31/18              Rabobank, N.A.                  Bank and Technology Services              2600-000                                     2,879.34           1,873,837.15
                                                       Fees
 08/30/18   710004     Port City Electric Company      Allocation of Estate Share of D&O         1249-000          -407,955.78                                   1,465,881.37
              {5}                                      and Insider Fraudulent
                                                       Conveyance Litigation pursuant to
                                                       Court Order dated 08/14/2018 [D.I.
                                                       914]
 08/30/18   710005     Constar International, Inc.     Allocation of Estate Share of D&O         1249-000          -407,955.78                                   1,057,925.59
              {5}                                      and Insider Fraudulent
                                                       Conveyance Litigation pursuant to
                                                       Court Order dated 08/14/2018 [D.I.
                                                       914]
 08/30/18   710006     Constar International, Inc.     Payment of allowed administrative         2990-000                                488,894.98                  569,030.61
                                                       claim pursuant to Court Order
                                                       dated 08/14/2018 [D.I. 916]



                                                                                          Page Subtotals:    $1,360,055.51            $791,024.90


{ } Asset Reference(s)        UST Form 101-7-TDR ( 10 /1/2010)                                                                   ! - transaction has not been cleared
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                                                                Form 2                                                                                  Exhibit 9
                                                                                                                                                        Page: 20
                                                Cash Receipts And Disbursements Record
Case No.:              08-10108- CSS                                   Trustee Name:                         George L. Miller (280160)
Case Name:             NEWSTARCOM HOLDINGS, INC.                       Bank Name:                            Mechanics Bank
Taxpayer ID #:         **-***6710                                      Account #:                            ******6567 DEPOSIT ACCOUNT
For Period Ending:     09/07/2021                                      Blanket Bond (per case limit):        $5,000,000.00
                                                                       Separate Bond (if applicable):        N/A

    1            2                      3                                      4                                    5                    6                          7

  Trans.    Check or       Paid To / Received From        Description of Transaction           Uniform         Deposit             Disbursement           Account Balance
   Date      Ref. #                                                                           Tran. Code         $                       $

 08/30/18   710007     Port City Electric Company     Payment of allowed administrative        2990-000                                 445,916.39                  123,114.22
                                                      claim pursuant to Court Order
                                                      dated 08/14/2018 [D.I. 915]
 08/31/18              Rabobank, N.A.                 Bank and Technology Services             2600-000                                      2,785.08               120,329.14
                                                      Fees
 09/04/18   710008     Cozen O'Connor                 Invoice #1209831 dated                   3721-000                                  11,551.50                  108,777.64
                                                      08/28/2018 - WARN Act mediation
                                                      less disputed amounts and 10%
                                                      discount
 09/28/18              Rabobank, N.A.                 Bank and Technology Services             2600-000                                        91.35                108,686.29
                                                      Fees
 10/31/18              Rabobank, N.A.                 Bank and Technology Services             2600-000                                        98.26                108,588.03
                                                      Fees
 12/26/18     {10}     United States Treasury         Turnover from US Treasury for            1249-000            375,000.00                                       483,588.03
                                                      Settlement of Letter of Credit: Adv.
                                                      Pro. No. 18-50281 pursuant to
                                                      Court Order dated 12/10/2018 [D.I.
                                                      937]. Funds withdrawn from Court
                                                      Registry
 01/04/19   710009     Kaufman Coren & Ress, P.C.     7th Interim Application for                                                       133,994.28                  349,593.75
                                                      Reimbursement of Expenses
                                                      pursuant to Court Order dated
                                                      12/10/2018 [D.I. 938]
                       Kaufman Coren and Ress P. C.   Fees (7th Interim)                       3210-000
                                                                             $131,250.00
                       Kaufman Coren and Ress P. C.   Expenses (7th Interim)                   3220-000
                                                                                $2,744.28
 02/12/19   710010     International Sureties, LTD.   2019 Blanket Bond #016026384             2300-000                                       104.08                349,489.67
                                                      for the term 01/01/2019 through
                                                      01/01/2020
 01/30/20   710011     International Sureties, LTD.   2020 Blanket Bond #016026389;            2300-000                                       198.89                349,290.78
                                                      Term: 01/01/2020 to 01/01/2021
 03/31/20              Mechanics Bank                 Bank and Technology Services             2600-000                                       279.14                349,011.64
                                                      Fees
 04/30/20              Mechanics Bank                 Bank and Technology Services             2600-000                                       557.84                348,453.80
                                                      Fees
 05/29/20              Mechanics Bank                 Bank and Technology Services             2600-000                                       538.38                347,915.42
                                                      Fees
 06/30/20              Mechanics Bank                 Bank and Technology Services             2600-000                                       593.16                347,322.26
                                                      Fees
 07/31/20              Mechanics Bank                 Bank and Technology Services             2600-000                                       573.64                346,748.62
                                                      Fees
 08/18/20   710012     Matco Electric Corp            Costs assessed against                   2990-000                                       121.82                346,626.80
                                                      NewStarcom Holdings, Inc.
                                                      pursuant to Third Circuit Court of
                                                      Appeals No. 19-3096
 08/31/20              Mechanics Bank                 Bank and Technology Services             2600-000                                       535.75                346,091.05
                                                      Fees
 09/14/20   710013     Miller Coffey Tate LLP         15th Interim Fee Application                                                       26,311.47                  319,779.58
                                                      pursuant to Court Order dated
                                                      09/14/2020 [D.I. 976] WRONG
                                                      AMOUNT (not printed)
                                                      Voided on 09/14/2020
                       Miller Coffey Tate LLP         Fees - 15th Interim                      3310-004
                                                                               $26,215.67



                                                                                           Page Subtotals:     $375,000.00           $624,251.03


{ } Asset Reference(s)        UST Form 101-7-TDR ( 10 /1/2010)                                                                  ! - transaction has not been cleared
                                  Case 08-10108-CSS                        Doc 1002                 Filed 09/16/21           Page 33 of 36

                                                                 Form 2                                                                                     Exhibit 9
                                                                                                                                                            Page: 21
                                                 Cash Receipts And Disbursements Record
Case No.:              08-10108- CSS                                         Trustee Name:                        George L. Miller (280160)
Case Name:             NEWSTARCOM HOLDINGS, INC.                             Bank Name:                           Mechanics Bank
Taxpayer ID #:         **-***6710                                            Account #:                           ******6567 DEPOSIT ACCOUNT
For Period Ending:     09/07/2021                                            Blanket Bond (per case limit):       $5,000,000.00
                                                                             Separate Bond (if applicable):       N/A

    1            2                      3                                             4                                  5                     6                        7

  Trans.    Check or       Paid To / Received From              Description of Transaction            Uniform       Deposit              Disbursement         Account Balance
   Date      Ref. #                                                                                  Tran. Code       $                        $

                       Miller Coffey Tate LLP               Expenses - 15th Interim                   3320-004
                                                                                           $95.80
 09/14/20   710013     Miller Coffey Tate LLP               15th Interim Fee Application                                                      -26,311.47                346,091.05
                                                            pursuant to Court Order dated
                                                            09/14/2020 [D.I. 976] WRONG
                                                            AMOUNT (not printed)
                                                            Voided: check issued on
                                                            09/14/2020
                       Miller Coffey Tate LLP               Fees - 15th Interim                       3310-004
                                                                                      $26,215.67
                       Miller Coffey Tate LLP               Expenses - 15th Interim                   3320-004
                                                                                           $95.80
 09/14/20   710014     Miller Coffey Tate LLP               15th Interim Fee Application                                                       38,917.14                307,173.91
                                                            pursuant to Court Order dated
                                                            09/14/2020 [D.I. 976]
                       Miller Coffey Tate LLP               Fees - 15th Interim                       3310-000
                                                                                      $38,653.66
                       Miller Coffey Tate LLP               Expenses - 15th Interim                   3320-000
                                                                                          $263.48
 03/16/21              Transfer Debit to TriState Capital   Transition Debit to TriState Capital      9999-000                                307,173.91                      0.00
                       Bank acct XXXXXX3006                 Bank acct XXXXXX3006

                                            COLUMN TOTALS                                                            1,735,055.51            1,735,055.51                    $0.00
                                                   Less: Bank Transfers/CDs                                          2,175,967.07             307,173.91
                                            Subtotal                                                                    -440,911.56          1,427,881.60
                                                   Less: Payments to Debtors                                                                         0.00

                                            NET Receipts / Disbursements                                            -$440,911.56            $1,427,881.60




{ } Asset Reference(s)        UST Form 101-7-TDR ( 10 /1/2010)                                                                        ! - transaction has not been cleared
                                  Case 08-10108-CSS                   Doc 1002                 Filed 09/16/21            Page 34 of 36

                                                                 Form 2                                                                                  Exhibit 9
                                                                                                                                                         Page: 22
                                                 Cash Receipts And Disbursements Record
Case No.:              08-10108- CSS                                     Trustee Name:                        George L. Miller (280160)
Case Name:             NEWSTARCOM HOLDINGS, INC.                         Bank Name:                           TriState Capital Bank
Taxpayer ID #:         **-***6710                                        Account #:                           ******3006 Checking Account
For Period Ending:     09/07/2021                                        Blanket Bond (per case limit):       $5,000,000.00
                                                                         Separate Bond (if applicable):       N/A

    1            2                        3                                      4                                   5                    6                          7

  Trans.    Check or       Paid To / Received From          Description of Transaction           Uniform        Deposit             Disbursement           Account Balance
   Date      Ref. #                                                                             Tran. Code        $                       $

 03/16/21              Transfer Credit from Mechanics   Transition Credit from Mechanics         9999-000           307,173.91                                       307,173.91
                       Bank acct XXXXXX6567             Bank acct XXXXXX6567
 07/13/21   800001     Clerk of Court                   Distribution payment - Claim             2700-000                                     1,100.00               306,073.91
                                                        #ADV-Fee Dividend paid at
                                                        100.00% of $1,100.00 pursuant to
                                                        Court Order dated 07/12/2021 [D.I.
                                                        1000]
 07/13/21   800002     George L. Miller                 Distribution payment - Claim #FEE        2100-000                                 85,373.90                  220,700.01
                                                        Dividend paid at 100.00% of
                                                        $85,373.90 pursuant to Court
                                                        Order dated 07/12/2021 [D.I. 1000]
 07/13/21   800003     Flaster/Greenberg P. C.          Combined dividend payments for                                                    41,983.46                  178,716.55
                                                        Claim #FGEXP, FGFEE
                       Flaster/Greenberg P. C.          Claims Distribution - Tue, 06-15-        3220-000
                                                        2021
                                                                                 $1,971.46
                       Flaster/Greenberg P. C.          Claims Distribution - Tue, 06-15-        3210-000
                                                        2021
                                                                                $40,012.00
 07/13/21   800004     Kaufman Coren and Ress P. C.     Distribution payment - Claim             3220-000                                      792.63                177,923.92
                                                        #KCREXP Dividend paid at 7.37%
                                                        of $10,758.17 pursuant to Court
                                                        Order dated 07/12/2021 [D.I. 1000]
 07/13/21   800005     Miller Coffey Tate LLP           Combined dividend payments for                                                        2,581.60               175,342.32
                                                        Claim #MCTEXP, MCTFEE
                       Miller Coffey Tate LLP           Claims Distribution - Tue, 06-15-        3320-000
                                                        2021
                                                                                       $5.60
                       Miller Coffey Tate LLP           Claims Distribution - Tue, 06-15-        3310-000
                                                        2021
                                                                                 $2,576.00
 07/13/21   800006     George L. Miller                 Distribution payment - Claim #TE         2200-000                                     1,585.48               173,756.84
                                                        Dividend paid at 100.00% of
                                                        $1,585.48 pursuant to Court Order
                                                        dated 07/12/2021 [D.I. 1000]
 07/13/21   800007     Dennis Dugan                     Distribution payment - Claim #4p         5300-000                                      405.72                173,351.12
                                                        Dividend paid at 3.71% of
                                                        $10,950.00 pursuant to Court
                                                        Order dated 07/12/2021 [D.I. 1000]
 07/13/21   800008     Newstarcom WARN QSF              Distribution payment - Claim #21p        5300-000                                173,163.25                      187.87
                                                        Dividend paid at 5.42% of
                                                        $3,194,369.00 pursuant to Court
                                                        Order dated 07/12/2021 [D.I. 1000]
 07/20/21              Internal Revenue Service -       Combined dividend payments for                                                         187.87                      0.00
                       EFTPS - 941                      Claim #, ,
                       Internal Revenue Service -                                    $142.46     5300-000
                       EFTPS - 941
                       Internal Revenue Service -                                     $36.80     5300-000
                       EFTPS - 941
                       Internal Revenue Service -                                      $8.61     5300-000
                       EFTPS - 941




                                                                                            Page Subtotals:     $307,173.91           $307,173.91


{ } Asset Reference(s)        UST Form 101-7-TDR ( 10 /1/2010)                                                                   ! - transaction has not been cleared
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                                                              Form 2                                                                              Exhibit 9
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                                              Cash Receipts And Disbursements Record
Case No.:              08-10108- CSS                                   Trustee Name:                    George L. Miller (280160)
Case Name:             NEWSTARCOM HOLDINGS, INC.                       Bank Name:                       TriState Capital Bank
Taxpayer ID #:         **-***6710                                      Account #:                       ******3006 Checking Account
For Period Ending:     09/07/2021                                      Blanket Bond (per case limit):   $5,000,000.00
                                                                       Separate Bond (if applicable):   N/A

    1            2                   3                                         4                              5                      6                        7

  Trans.    Check or       Paid To / Received From         Description of Transaction      Uniform        Deposit              Disbursement         Account Balance
   Date      Ref. #                                                                       Tran. Code        $                        $


                                         COLUMN TOTALS                                                        307,173.91            307,173.91                    $0.00
                                                Less: Bank Transfers/CDs                                      307,173.91                   0.00
                                         Subtotal                                                                    0.00           307,173.91
                                                Less: Payments to Debtors                                                                  0.00

                                         NET Receipts / Disbursements                                               $0.00          $307,173.91




{ } Asset Reference(s)       UST Form 101-7-TDR ( 10 /1/2010)                                                               ! - transaction has not been cleared
                                 Case 08-10108-CSS               Doc 1002            Filed 09/16/21            Page 36 of 36

                                                       Form 2                                                                          Exhibit 9
                                                                                                                                       Page: 24
                                       Cash Receipts And Disbursements Record
Case No.:           08-10108- CSS                                    Trustee Name:                    George L. Miller (280160)
Case Name:          NEWSTARCOM HOLDINGS, INC.                        Bank Name:                       TriState Capital Bank
Taxpayer ID #:      **-***6710                                       Account #:                       ******3006 Checking Account
For Period Ending: 09/07/2021                                        Blanket Bond (per case limit): $5,000,000.00
                                                                     Separate Bond (if applicable): N/A

                                       Net Receipts:              $3,005,607.98
                           Plus Gross Adjustments:                          $0.00
                         Less Payments to Debtor:                           $0.00
                 Less Other Noncompensable Items:                           $0.00

                                         Net Estate:              $3,005,607.98




                                                                                                        NET                       ACCOUNT
                                 TOTAL - ALL ACCOUNTS                             NET DEPOSITS     DISBURSEMENTS                  BALANCES
                                 ********4865 Money Market Account                     $439,613.28            $0.00                       $0.00

                                 ********4866 Checking Account                         -$435,452.99                     $0.00              $0.00

                                 ******6312 Money Market Account (Int                    -$4,160.29                     $0.00              $0.00

                                 ******6421 DEPOSIT ACCOUNT                            $109,690.06                   $540.13               $0.00

                                 ******0505 MONEY MARKET ACCOUNT                       $296,090.62                      $0.00              $0.00

                                 ******8120 CHECKING ACCOUNT                             -$9,598.00              $266,470.65               $0.00

                                 ******0118 ESCROW - EMPLOYEE BENEFIT                   $40,356.86                      $0.00              $0.00

                                 ******0043 DEPOSIT ACCOUNT                                  $0.00                  $1,134.10              $0.00

                                 ******0044 ESCROW - EMPLOYEE BENEFIT                        $0.00                $22,196.27               $0.00

                                 ******0455 ESCROW - EMPLOYEE BENEFIT                        $0.00                      $0.00              $0.00

                                 ******0463 DEPOSIT ACCOUNT                           $3,009,980.00              $980,211.32               $0.00

                                 ******6566 ESCROW - EMPLOYEE BENEFIT                        $0.00                      $0.00              $0.00

                                 ******6567 DEPOSIT ACCOUNT                            -$440,911.56            $1,427,881.60               $0.00

                                 ******3006 Checking Account                                 $0.00               $307,173.91               $0.00

                                                                                     $3,005,607.98             $3,005,607.98               $0.00




UST Form 101-7-TDR (10 /1/2010)
